Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 1 of 57 Page ID #:16




               Exhibit A
            Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 2 of 57 Page ID #:17



Corporate Creations Network Inc.
801 US Highway 1 North Palm Beach, FL 33408

                   Pella Corporation                                                                                                                 03/26/2021
                   Teresa Van Weelden Paralegal
                   Pella Corporation
                   102 Main St
                   Pella IA 50219



SERVICE OF PROCESS NOTICE
The following is a courtesy summary of the enclosed document(s). ALL information should be verified by you.                                                            Item: 2021-21
Note: Any questions regarding the substance of the matter described below, including the status or how to respond, should be
directed to the contact set forth in line 12 below or to the court or government agency where the matter is being heard. IMPORTANT:
All changes or updates to the SOP contact individuals or their contact information must be submitted in writing to
SOPcontact@corpcreations.com. Any changes will become effective upon written confirmation of Corporate Creations.


 1.                           Entity Served:             Pella Corporation

 2.                          Title of Action:            Jason Arnold vs. Pella Corporation, et al.

 3.                Document(s) Served:                   Summons
                                                         Complaint for Damages
                                                         Civil Case Cover Sheet
                                                         Civil Case Cover Sheet Addendum and Statement of Location

 4.                           Court/Agency:              Los Angeles County Superior Court

 5.                            State Served:             California

 6.                           Case Number:               21STCV09481

 7.                               Case Type:             Wrongful Termination

 8.                    Method of Service:                Hand Delivered

 9.                          Date Received:              Thursday 03/25/2021

 10.                          Date to Client:            Friday 03/26/2021

 11.         # Days When Answer Due:                     30                                     CAUTION: Client is solely responsible for verifying the accuracy of the estimated Answer Due
                     Answer Due Date:                    Saturday 04/24/2021                    Date. To avoid missing a crucial deadline, we recommend immediately confirming in writing
                                                                                                with opposing counsel that the date of the service in their records matches the Date Received.

 12.                             Sop Sender:             Christopher A. Adams
               (Name, City, State, and Phone Number)
                                                         Glendale, CA
                                                         818-507-8525

 13.              Shipped To Client By:                  Email Only with PDF Link

 14.                    Tracking Number:

 15.                             Handled By:             051

 16.                                      Notes:         Also Attached:
                                                         * Notice of Case Assignment
                                                         * First Amended General Order, etc.
NOTE: This notice and the information above is provided for general informational purposes only and should not be considered a legal opinion. The client and their legal
counsel are solely responsible for reviewing the service of process and verifying the accuracy of all information. At Corporate Creations, we take pride in developing systems
that effectively manage risk so our clients feel comfortable with the reliability of our service. We always deliver service of process so our clients avoid the risk of a default
judgment. As registered agent, our role is to receive and forward service of process. To decrease risk for our clients, it is not our role to determine the merits of whether service
of process is valid and effective. It is the role of legal counsel to assess whether service of process is invalid or defective. Registered agent services are provided by Corporate
Creations Network Inc.
                                                       801 US Highway 1 North Palm Beach, FL 33408 Tel: (561) 694-8107 Fax: (561) 694-1639
                                                                                   www.CorporateCreations.com
                Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 3 of 57 Page ID #:18
Electronically FILED by Superior Court of California, County of Los Angeles on 03/11/2021 01:19 PM Sherri R. Carter, Executive Officer/Clerk of Court, byD. Ramos, Deputy Clerk

           -             *                                                                21STCV09481
                                                                                                                                                                                  SUM-100
                                                              SUMMONS                                                                                 FOR COURT USE ONLY
                                                                                                                                               (SOLO PARA USO DE LA CORTE)
                                                      (CITACION JUDICIAL)
            NOTICE TO DEFENDANT:
            (AVISO AL DEMANDADO):

               PELLA CORPORATION, a corporation and DOES 1-20, inclusive,


            YOU ARE BEING SUED BY PLAINTIFF:
            (LP ESTA DEMANDANDO EL DEMANDANTE):
               JASON ARNOLD, individually,



                NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
               below.
                  You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
               served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
               case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
               Online Self-Help Center ( www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
               the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
               may be taken without further warning from the court.
                  There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
               referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
               these nonprofit groups at the California Legal Services Web site ( www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
               ( www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
               costs on any settlement or arbitration award of $1 0,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
               (AVISO! Lo han demandado. Si no responde dentro de 30 dlas, la code puede decidir en su contra sin escuchar su versidn. Lea la informacidn a
               continuacidn.
                  Tiene 30 DlAS DE CALENDARIO despuds de que le entreguen esta citacidn y papeles legales para presentar una respuesta por escrito en esta
               corte y hacerque se entregue una copia al demandante. Una carta o una llamada telefdnica no lo protegen. Su respuesta por escrito tiene que estar
               en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formuiario que usted pueda usar para su respuesta.
               Puede encontrar estos formuiarios de la corte ymds informacidn en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov,), en la
               biblioteca de leyes de su condado o en la corte que le quede mds cerca. Si no puede pagar la cuota de presentacidn, pida al secretario de la corte
               que le de un formuiario de exencidn de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
               podrd quitar su sueldo, dinero y bienes sin mds advertencia.
                 Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
               remisidn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
               programa de setvicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
               (Www.lawhelpcalifornia.orgJ, en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.govJ o ponidndose en contacto con la corte o el
               colegio de abogados locales. A VISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
               cualquier recuperacidn de $10,000 6 mPs de valor recibida mediante un acuerdo o una concesidn de arbitraje en un caso de derecho civil. Tiene que
               pagar el gravamen de la corte antes de que la corte pueda desecharel caso.

           The name and address of the court is:                                                  _       _                      CASE NUMBER:
                                                                                                                                 (Numero del Caso):
           (El nombre v dimccinn de la corte es): Superior Court of California
                                                                                                                                                      21STCV09481
           Stanley Mosk Courthouse - Central District
            1 1 1 North Hill Street, Los Angeles, CA 90012
           I he name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
           (El nombre, la direccidn y el numero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
           Vache Thomassian, Esq., 230 North Maryland Avenue, Suite 306, Glendale, CA 91206-P. 818-507-8525
                                                                                                                     Sherri R. Carter Executive Officer / Clerk of Court
           DATE:                                                                                      Clerk, by                                                                    Deputy
           (Fecha)
                             03/11/2021                                                               (Secretario)                    D. Ramos                                    (Adjunto)

           (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
           (Para prueba de entrega de esta citation use el formuiario Proof of Service of Summons, (POS-010)).
                                                       NOTICE TO THE PERSON SERVED: You are served
            [SEAL]
                                                       1. I I as an individual defendant.
                                                       2. | | as the person sued under the fictitious name of (specify):

                 S/M                                                                         feiiq
                                                       3. \\/o
                                                 y

                *m                                                 on behalf of (specify):
                3
                             m         w         «r           under:   I \A CCP 416.10 (corporation)                             |      1   CCP 416.60 (minor)
                                                                       I   I   CCP 416.20 (defunct corporation)                  I      |   CCP 416.70 (conservatee)
                                                                       |   |   CCP 416.40 (association or partnership) |               |    CCP 416.90 (authorized person)

                                                                       I   I   other (specify):
                                                       4. I       I by personal delivery on (date):
                                                                                                                                                                                     Page 1 of 1

       .   Form Adopted for Mandatory Use                                                 SUMMONS                                                         Code of Civil Procedure §§ 412.20, 465
                Judicial Council of California                                                                                                                             wtwv.court/nfo. ca.gov
               SUM-100 [Rev. July 1,2009]
Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 4 of 57 Page ID #:19
                                                                          21STCV09481
                     Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Barbara Meiers




       Electro Ically FILED by Superior Court of California, County of Los Angeles on 03/1 0/2021 04:02 PM SHerrl R. Carter, Executive Officer/Clerk of Court, by M. Barel, Deputy Cler


           t       CHRISTOPHER A. ADAMS (S.B. #266440)
                   chris@kjtlawgroup.com
           2       VACHE A. THOMASSIAN (S.B, #289053)
                   cas|):tr#kjtiawgroup.com
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         4         KIT LAW GROUP LLP
                   230 IN". Maryland Ave. Suite 306
         5         Gieudale, CA 91206
                   Telephone: 818.507.8.52.5
         6
                   Attorneys lor PlatnulT fason Arnold
         7

         8

        9                                          SUPERIOR COURT OF THE STATE OF CALIFORNIA

       10                                                                COUNTY OF LOS ANGELES

       11

       12         JASON ARNOLD, individually,                                                Case No,:           2 1 S~T CV O 9 48 1

       13                                               Plaintiff,                           COMPLAINT FOR DAMAGES:

       14                      v.                                                               1.    Discrimination Based on Disability;
                                                                                               2.     Retaliation in Violation of FEHA;
       15          PKi .LA CORPORATION, a corporation;                                         3.     Retaliation in Violation of l abor Code Section
                  and DOES 1-20, inclusive,                                                          98.6;
       16
                                                                                               4.    Wrongful Termination in Violation of Public
                                                       Defendants.
                                                                                                      Policy;
       17
                                                                                               5.    Harassment in Violation of FEHA;
       18                                                                                      6.    Failure to Pic vent Harassment and
                                                                                                     Discrimination;
      19                                                                                       7. Failure to Pay Minimum and Overtime Wages;
                                                                                               8. Failure to Provide Meal Periods;.
      20
                                                                                               9. Waiting Time Penalties;
                                                                                               10. Failure To Reimburse for Business
      21
                                                                                                   Exiienditures and Losses;
      22                                                                                       1 1. Improper Deductions and Withdrawals;
                                                                                               12. Failure To Pay Commissions; and
      23                                                                                       13. Unfair Business Practices.

      24                                                                                    JURY TRIAL REQUESTED

      25

      26

      27

      28


                                                                            COMPLAINT FOR DAMAGES
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            1            Plaintiffjason Arnold CPlaiutilF or "Arnold") hereby brings litis case against Defendants

            2   Pella Corporation, ;utd Does I -20 (collectively, "Defendants"), ami with rcsjiect to each allegation,

            3   Plaintiff is informed and lielieves and based thereon alleges as follows:

            4    I.      INTRODUCTION
            5            1,    This case arises iron) Defendants' willful disregard for Plaintiffs employment rights

            8   by engaging in a severe and pervasive campaign of harassment, disrnnriiiaiion, and abuse against

            7   Plaintiff. During Plaintiff Arnold's employment, it became evident that Defendants were targeting

            8   Plaintiff to create a hostile work environment and take adverse actions against liiot on the basts of

            9   his disability and to retaliate against him for his disability and complaining about Defendants'

           10   unlawf ul behavior.

  5        11   II.    THE PARTIES
 D §       12           2,     Defendant Pella Corporation is organized as a coiporatiou under die laws of
 O I
 C£ w
           13   the stote of Iowa and operates in California, including Ids Angeles. It conducted and continues to
 0 t
      *8
 > IS      14   conduct substantial business in die state of California. At all times mentioned herein, Defendants
 < 15
                was and is an employer covered by die California I-abor ( aide and the California Industrial
£
A So
      Si   15

           16   Welfare Commission Wage Order.

           17           3,     Plaintiff is unaware and ignorant of die true names and capacities of defendant sued

           18    icrein as Does t through 20, inclusive, and for that, reason sues said defendant by suc h

           19    ictitkms names (the "Doe Defendants").

           20           4,     At all times herein relevant, Defendant and die Doc Defendant, and each of diem,

           21   were die agents, partners, joinl-vaiturers, joint employers, aller-cgos, representatives, servants,

           22   employees, successors-in-uilerest, coconspirators and assigns, each of die other, and at times

           23   relevant hereto were acting with die course and cope of theirs authority as such agents, partners,

           24   joint-venturers, joint employers, alter-egos, representatives, servants, employees, succcssors-in-

           25   interest, co-conspirators and assigns, and all acts or omissions alleges herein were duly committed

           26   with the ratification, knowledge, permission, encouragement, authorization, and consent of each

           27   defendant designated herein. Plaiutiffis informed and believes, and based thereon alleges tiiat die

           28   acts of each Defendant arc legally attributable to die other Defendant.
                                                                   2

                                                     COMPLAINT FOR DAMAGES
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             1            5.     Plaintiff is informed and believes, and based dicreon alleges thai each of the Doe

         2        Defendant is legally responsible for the events and happenings referred to in litis Complaint, and

         3        unlawfully caused die injuries and damages to Plaintiff as alleges in litis Complaint Plaintiff will

         4       file and serve an amendment to litis Complaint alleging the true names ;uid rapacities of the Doe

         5        Defendant when such true names, capacities, and involvement is ascertained.

         6               6.     Plaintiff Jason Arnold was employed by Defendants at their operations in Hrca,

         7       California from approximately September 12, 2016 to October 18, 201 9 as a retail sales

         8       consultant. At all relevant times, Defendants misrlassificd Plaintiff as "exempt" from California

         9       and federal wage-and-hour laws and was paid a fixed salary. Plaintill Jason .Arnold is an individual

        10       residing in tire County of Los Angeles, California.

  s*
        11               7.     Al all times relevant to dtis Complaint, Defendants exercised roulrol over die wages,
 0, §
 D s    12       hours, and working conditions of Plaintiff; suffered and permitted Plaintiff to work; and otherwise
 0 !
        13       engaged Plaintiff to work, so as to create an employer-employee relationship between Defendants
 P i
 >
 > |S   14       and Plaintiff At till relevant times, Defendants were "employers" of Plaintiff'within die meaning of

H a     15       all applicable California state laws. As such, Defendants are prohibited from committing various


*1l     16       acts, including discrimination, harassment, retaliation, wage-and-hour violations, and odier

        17       violations of law as alleged herein.

        18       HI.    JURISDICTION AND VENUE
        19               8.     The monetary damages and restitution sought by Plaintilf'exceed die minima!

        20       jurisdiction limits of the Superior Court and will be established according to proof at trial.

        21               9.     This Court has jurisdiction over this action under d ie California Constitution, Article

        22       VI, Section 10, which grants die Superior Court original jurisdiction in all causes except those

        23       given by statute to other courts. The statutes under which dtis action is brought do not specifically

        24       grant jurisdiction to any oilier court, and die issues are based solely on California statutes and taw,

        25       including die California Labor Code, California industrial Welfare Commission ("IWC") Wage

        26       Orders, California Code of Civil Procedure, California Civil Code, and the California Business

        27       and Professions Code.

        28               10.    The California Superior Court has jurisdiction over Defendants, because they are
                                                                    3

                                                        COMPIALVP FOR DAMAGKS
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                1     citizens of California, have sufficient minimum contacts in California, and otherwise intentionally

              2      avail themselves to the California market, including establishing its principal place of business and

              3      transacting business in California.

                               1 1.    Venue is proper iu tliis Court, because the Defendants owns and operates a business

              5      and otlierwise transact business in die County of los Angeles. Ami during all relevant time

              6      periods, Plaintiff was employed by Defendants iu the County of Los Angeles, Plauitill' resides in

              7      the State ol" California,

              8      IV.     FACTUAL BACKGROUND
                             A.        Defendants Misdassified Plaintiff as Exempt from Waoe-And-Hour
              9
                                       Laws
          10
                              12.      On September 12, 20 1 (>, Defendants hired Plaintiff as a retail sales consultant at its
  h       11
                     Brea office.
 CL «
 D S      12
 0 I                          13.     At all times mentioned in (iris complaint, Defendants misdassified Plaintiff as an
 01       1-3
 a        13        exempt , outside salesperson, and paid him a fixed salary of $ i ,538.46 every two weeks regardless

 III      14        of how many hours he worked. Iu addition to his salary, Defendants paid Plaintiff commissions
 —! 16
H i|      15
F—SZ'O              on die sale of Defendants' window products under applicable Commission Compensation Plans.

         <6         Under these plans, Plaintiff could receive up to 8% of the sale pticc of the Defendants' window
         17
                    products. In add ition, Plaintiff was eligible to cam a bonus on a monthly, quarterly, and annual
         18
                    basis.
         19
                             14,      According to Defendants, Plaintiffs job position is exempt Irom federal and
         20
                    California laws mandating overtime wages, meal and rest breaks, and accurate itemized wage
         21
                    statements documenting overtime hours earned and missed meal breaks, 'Dial said, Plaintiff spent
         22
                    less than h;Uf of his time on outside sales activities.
         23
                             1.5.     Given the nature of Plaintiffs daily work and the circumstances iu wiiich it was
         24
                    performed, Plauitill should not have been classified or considered as exempt from various wage-
         25
                    and-liour laws in relation to the work he jierformed, and should have been paid applicable
         26
                    premium overtime compensation as provided by law. Defendants failed, and willfully tailed to do
         27
                    this with respect to its mam exempt employees, including Plaintiff
         28
                                                                          4

                                                           COMPl-AiNT FOR DAMAGES
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              1             1 (i.    Al times, Plaintiff was denied lawful meal periods by Defendants, as a result of,

             2     among other d ungs, the demands Defendants plated upon Plaintiff in the performance of his

             3 I duties and the requirements of the work performed. Defendants did not, as required by California

             4     law, pay Plaintiff one hour of premium pay at his regular rate for each time a meal period was not

             5 I provided or was kite, interrupted, or otherwise non-compliant.

             6             1 7.      lit addition to the violations above, Defendants' requirement that Plaintiff work a

             7     schedule which did not validly and lawfully provide him with all authorized meal periods during Iris

             8     shifts, was willful and deliberate, and on information ami belief. Defendants have failed to cease

             9 J their unlawful policies and practices addressed herein despite being on notice of them.

         10                18.       Plaintiff sometimes worked over eight hours in a day and/or forty hours in a work

         11       week, but was not, as required under California law, properly and accurately paid overtime wages
   o
         12       for that work. Similarly, Plain til!''sometimes worked over 12 hours in a day, but was not properly
 0 I
 2 &    13        and accurately paid overtime wages for that work. Furthermore, Defendants, in violation of
 y sl
   cr   14        California law, caused Plaintiff to work seven consecutive days or more without a day of rest,
 3 fi
r~i
   si   15        without paying overtime wages.
   *1
   is   16                1 9.      Defendants' polic y and practice of requiring ;uid/ar suffering and permitting Plaintiff

        17        to work overtime without lully compensating him lor all hours worked led directly to PlaintiH at

        18        times working hours for which he was not fully and properly compensated.

        19                20.       Defendants failed to pay on time to Plaintiff (lie legal wages lie earned, failed to

        20        provide all authorized meal periods owed, and failed to pay one-hour wages in lieu of each such

        21        unprovided meal period, including upon separation or discharge. Defendants have made it

        22        difficult to account with precision for the unlawfully widihckl wages and deductions owed to

        23        Plaintiff during the relevant period, because Defendants directed and implemented a schedule and

        24        a compensation program which failed to pay all wages due, and failed to provide atl authorized

        25        meal periods and failed to implement and preserve a lawful record-keeping method to record all

        26        non-provided meal periods owed to employees, as required for non-exempt.employees by

        27        California Labor Code section 226 and applicable California Wage Orders.

        28               21 .       Plaintiff alleges that Defendants know, should know., knew, and/or should have
                                                                        S

                                                         COMl'LMNT' FOR DAMAGES
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                 1     known dial Plaintiff was entitled to receive accurate premium wages f or overtime compensation

                 2     and/or premium wages under California labor Code § 226.7 but was not receiving such accurately

                 3    roinpuied compensation.

                4                22.    Defendants and their agents knew and/or reasonably should have knowu dial they

                5     bad a duty to accurately compensate Plaintiff for all hours worked, including overtime wages and

                6     meal period premium compensation and all wages due upon separation, and that Defendants had

                7     the financial ability to pay such compensation, but willfully, knowingly, recklessly, and/or

                8     intentionally failed to do so.

                9             23.       In addition to misclassifying Plaintiff, Defendants would unilaterally make unlawful

            10        deductions from Plaintiff's paycheck for business loses that resulted from the installation of

  s         11        Defendants' windows.
 CL ®
 D »        12                24.       Defendants also refused to reimburse Plaintiff'for expenses that lie inclined that
 0 I
 C£ I
            13        were necessary to perform his job duties, including unpaid mileage, ink for his printer, modem,
 o i
 > ^
      IS    14       office space, car rental, yard signs, parking, and postage. Despite these expenses being incurred
 its
H           15       lor the benefit of Defendants, it ref used to reimburse Plaintiff lor them.
rpz1
i4u        16                25,       Moreover, Defendants refused to pay Plaintiff his earned commissions and bonuses

           17        in breach of Defendants' commission plans, including but not limited to die Fiscal 2019 Full

           18        Commission Compensation Plan, Fiscal 2018 Full Commission Compensation Plan, Fiscal 2017

           19        Full Commission Compensation Plan, and Fiscal 2016 Salary Plus Commission Compensation

           20        Plan (collectively, "Compensation Plans"). Oftentimes, as discussed below, this was a result of

           21        Defendants' discriminatory conduct of giving sales contracts to oilier sales consultants anil

           22        otherwise favoring other employees for sales targets.

           23
                            8.         Defendants Discriminated Against Plaintiff Due To His Disability
           24               26,        During his employment, Plaintiff worked diligently, made meaningful contributions

           25
                     to die growth of die business, and earned substantial commissions and bonuses, lie often went
           26
                     beyond his normal duties to bring further success lor Defendants, including working weekends,
           27        weeknights, and his designated days off.     Plaintiffs commitment to Defendants' long-term success
           28
                                                                          6
                                                           COMP1AINT FOR DAMAGES
Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 10 of 57 Page ID #:25




                     1     known thai Plaiulifl was entitled to receive accurate premium wages for overtime compensation

                     2     and/or premium wages under California labor Code § 22(i,7 but was not receiving such accurately

                     3     computed compensation,

                     4               22.    Defendants and their agents knew and/or reasonably should have known tiiat they

                    5      had a duty to accurately compensate Plaintiff lor all hours worked, including overtime wages and

                    6      meal period premium compensation and all wages due upon separation, and that Defendants had

                    7     the financial ability to pay such compensation, but willfully, knowingly, recklessly, and/or

                    8 || intentionally failed to do so.

                    9                23.    In addition to misclassilyiug Plaintiff, Defendants would unilaterally make unlawful

                10        deductions from Plaintiffs paycheck for business loses that resulted from tire installation of

                11 || Defendants' windows.
 D- 2
 D 8            12                24.       Defendants also refused to reimburse Plamdfflor expenses dial lie incurred that
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 2 $
                13        were necessary to perform hi* job duties, including unpaid mileage, ink for his printer, modem,
 a i
 > <5
 > 22           14 || office space, car rental, yard signs, parking, and postage. Despite these expenses being inclined
 <C
r —^   , -'J

                15 || for die benefit ol Defendants, it refused to reimburse Phuuiill lor then).

&§              16               2,1       Moreover, Defendants refused to pay Pkiintiffhis earned commissions and bonuses

               17        in breach of Defendants* commission pkuis, including but not limited to die Fiscal 2019 Full

               18 | Commission Compensatiou Plan, Fiscal 2018 Full Commission Compensation Plan, Fiscal 2017

               19        Full Commission Compensation Plan, and Fiscal 20 10 Salary Plus Commission Compensation

               20        Plau (collectively, "Compensation Plans"), Oftentimes, as discussed below, litis was a result of

               21        Defendants' discriminatory conduct of giving sales contracts to other sales consultants and

               22 || odierwise favoring other employees for sales targets.

               23
                                B.         Defendants Discriminated Aoainst Plaintiff Due To His Disability
               24
                                 2l>.      During his employment, Plaintiff Worked diligently, made meaningful contributions

               25
                         to die growth ol the business, and earned substantial commissions and bonuses. He often went
               26
                         beyond his nonnal duties to bring further success for Defendants, including working weekends,

               27        weeknigliLs, and his designated days off.    Plaintiffs commitment to Defendants' long-term success
               28
                                                                             6

                                                               COMPIAINT FOR DAMAGES
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                 1    was demonstrated time and again, bearing fruit for Defendants in the form of, among oilier tilings,

             2        procuring huge sales contracts, new clientele, a loyal client base, and an enhanced reputation for

                 3    Defendants in die marketplace.

             4                27,    Despite this, Plaintiffs fared an increasingly hostile work environment, created by

             5        Defendants' discriminatory and retaliatory actions.

             6                28.    In April 201 8, Plahruff submitted a doctors note requesting a one-week leave from

             7       work as a result of his disability involving, among other things, job-related hypertension and loss of

             8       sleep. Alter returning from tills one-week leave, Plaintiff's direct supervisor, Kubeu Aguilcra, was

             9       upset about him having to take time off, and told him to make sure it doesn't happen again.

            10       UiifortiiuaLely, Plaintiffs disability worsened, and in August 2018, he took another leave of

            11       absence — this time for 45 days.
 CL «
 D §        12               29      After returning to work from Iris second leave. Defendants retaliated against Plaintiff
 O I
 % *        13       creating a hostile and discriminatory work environment on die basts of his disability and taking
 Z   \
     it                                    .                                         .....                    .   .
 5 fS       14       protected leave. This retaliation was broad and severe and included Defendants (i) refusing to
• —' ij'o
"H si       15       provide Plaintiff witli die same number of leads as other sales consultants — i.e., inequitable lead
   »•§
^ ||        16       distribution; (it) altering Plaintiffs closing percentages to make it appear as if he was not hitting bis
            17       sales goals; (tii) assigning Plaintiff invalid leads to further hami his sales numbers; (iv) reassigning

            18       valuable leads thai were original assigned to Plaintiff to odier sales consultants; (v) altering monthly

            19       bonus criteria to lavor another sales consultant, costing Plaintiff liis monthly bonus; (vi) cancelling

            20       sales appointments in die system, and dieu disciplining Plaintiff when he did not attend die

            21       appointment; and ivii) while he was on leave, giving Plaintiff's commission to another sales

            22       consultant

            23               80,    In response, Plaintiff would notify Defendant s of these discriminatory practices, and

            24       request that drey be remedied. Instead of doing so, Defendants doubled-downed and further

            25       retaliated against Defendants, including creating a paper trail to appeal' as if Plaintiff was not

            26       meeting bis sales goals,

            27               31 .   Defendants' conduct and adverse treatment of Plaintiff has been unlawfully

            28       discriminatory, harassing, and retaliatory towards Plaintiff, and also violative of Plaintiffs other
                                                                         *7



                                                          COM I'LA I NT K ) RIM MA G ES
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              1     rights and protections under California law, and Defendants' related obligations as further alleged

              2     herein.

              3               32.     All of these burdens have caused, and continue to cause, Plaintiff, severe mental

             4      anguish and emotional distress and exacerbated his disability.
                           C          Defendants Terminated Plaintiff In Retaliation For His Complaints
             5
                                      About Their Discriminatory Conduct And On The Basis Of His Disability
             6
                              33.    In light of Defendants continuous harassment and retaliatory behavior and its refusal
             7
                   to take any corrective action, in May 2019, Plaintiff notified Defendants' Human Resources
             8
                   Department of this illegal behavior and provided documentary support of same. Defendants
             9
                   reviewed these dtx umeuts and guaranteed thai all f uture: leads would he distributed properly and
         10
                   evenly to all stiles consultants.
  a*
         11
                           34.       Unfortunately, Defendants did not take any c orrective action and its illegal conduct
 dI      12
 0 I               continued. As a result, in August 2019, Plaintiff again submitted a detailed e-mail to Defendants'
 5 «
         13
 o i               management complaining about Defendants' long history of discrimination and retaliation towards
 %      14
                   him due to his disability,
        15
                           3,5.      In response to Plaintiffs formal complaint, Defendants informed Plaintiff thai it
51      16
                  would conduct an investigation of his claims. Instead of doing so and supposedly wliile tlus
        17
                  investigation was pending, in retaliation for making his complaint, on October 18, 2019,
        18
                  Defendants wrongfully terminated Plaintiffs employment.
        19
                          36.       Plaintiff alleges thai the true reasons for his termination were due to (a) fiis
        20
                  complaints about the harassment and discrimination against Plaintiff; and lb) bis disability and its
        21
                  repercussions for Defendants, In other words, charged with their retaliatory animus for Plaintiff
       22
                  because he relayed and raised concents about Defendants' unlawful conduct, Defendants
       23
                  terminated Plaintiff.
       24
                          37.       Defendants' conduct lias damaged Plaintiff and resulted in severe emotional distress,
       25
                  loss of income and other employment benefits, and damage to Plaintiffs reputation among co
       26
                  workers and oilier persons whom Plaintiff worked with or who were and are instrumental in
       27
                  Plaintiff earning his income.
       28
                                                                        %
                                                         COMF1 AINT FOR DAMAGES
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!




i

                     1               38,     Through these and other similar ongoing acLs, omissions, and courses of conduct,

                     2     Defendants created a damaging and intolerable circumstance and work environment lor Plaintiff

                     3     winch detrimentally and pervasively altered the lent is and conditions of his employment and

                    4 j caused Plaintiff to sustain various forms of damages.

                    5                39.    Defendants' conduct and adverse treatment of Plaintiff' lias been unlawfully

                    6     discriminatory, harassing, and retaliatory towards Plaintiff", and also violative of Plaintiff's oilier

                    7     rights and protections under California law, and Defendants' related obligations as further alleged

                    6     herein.

                    9
                                            Defendants Ignored Their Legal Obligations To Exercise Reasonable
                10                          Care To Prevent And Correct Discrimination, Retaliation. And
                                            Harassment
                11
     £L   »                         40,     Instead of establishing policies of non-discrimination, non-harassment, and non-
     D £        12
     O I                  retaliation, Defendants have done the opposite; Defendants established a policy, custom, practice
     a i        13
     P f
                          or usage within Defendants, which condoned, encouraged, tolerated, sanctioned, ratified,
     2    1?    14
                          approved of, and acquiesced in discrimination, lianissmeiit, and retaliation towards its employees.
           i    15
                                    41 .   As discussed above, on several occasions, Plaintiff complained about Defendants'
          S3   <6
                         discriminator conduct.       On most of these occasions, not only did Defendants lail to appropriately
               17
                         respond to complaints of" discrimination, Defendants also swept their conduct under the rug and
               18
                         ignored them.       Even after Plaintiff insisted that Defendant* take action to prevent and correct
               19
                         discrimination, Defendants did not correct its unlawful practices, violations, and adverse treatment
               20
                         of employees, and did not institute or communicate avenues lor any employee complaints,
               21
                         including complaints about discrimination. Indeed, ultimately Defendants terminated Plaintiff
               22
                         instead of taking any corrective action.
               23
                         V,     EXHAUSTION Of ADMINISTRATIVE REMEDIES
               24
                                 42.       Prior to commencing litis civil action, and within the time provided by law, Plaintiff
               25
                         satisfied (or was otherwise not subject to) administrative prerequisites with respect to this and
               26
                         related filings, including inter alia Plaintiff Arnold requesting, receiving, and serving on Defendants
               27
                         an immediate "Right-lo-Sue" Ixtter from the DFEH in coiiueetion witli Plaintiff Arnold's FEHA-
               28
                                                                              9
                                                                COMPLAINT FOR DAMAGES
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              1   based claims,

           2      VI.    CAUSES OF ACTION

           3                                             FIRST CAUSE OF ACTION
                                                    Discrimination Based Upon Disability
          4
                        (Violation ol Government Code § 12940(a), el seq. and related statutes and regulations)
                                                    (By PlaintilT Against Each Defendants)
          5
                          43,       Plaintiff hereby incorporates by reference Paragraphs 1 tlu ough 42 of litis
          6
          j       Complaint as if fully set Ibrtli herein, and for a cause of action alleges as follows:

                           14,      Plaintiff had, or was perceived to have, a past, currrnl, or future disability that
          8
          g       linuted at least one major life activity,

                          45.       Defendants knew or should have known that Plaintiff was, or was perceived to be,
         10
                  tut individual with a past, current, or future disability dial limited at leas! one major life activity.
         11
 Q. *                     46.     At all times material to this complaint, Plaintiff was able to perform the essential
 O *     12
 0 I
 i2 ?;   *->      functions of his position with or without reasonable accommodation of his disability.
 55
 <
    h     ,               47.     At all tunes herein mentioned, Govcmmeni Code § 12940 et seq, (die fan
< l|                                                                   ,
P |d     ^        Employment and Housing Art, or "FEilA") was in full force and effect and was binding on

                  Defendants. The FEHA required Defendants and its agents to refrain from discriminating against

                  any employee, including Plaintiff, on die basis of, among oilier things, disability. Further, die
         17
                  FEHA required Defendants to take all reasonable steps necessary to prevent such discrimination
         18
                  horn occurring.
         19
                          48.     As alleged above, Plaintiffs disability was a substantial motivating factor in
         20
                  Defendants' terminating Plaintiff, and other discrimination against him, in violation ol Government
         21
                  Code $ 12940(a),
         22
                          19.     Dclendants. tlirougli its managers and agents, furdier violated the FEHA by lading
         23
                  to take all reasonable steps necessary to prevent disability discrinunatiou against Plaintifl' from
         24

                  occurring.
         25
                          50.     As a proximate result c»f die aforesaid acts of Defendants, Plaintiff lias sustained
         26
                  and continues to sustain economic losses, emolional distress, and mental and physical pain and
         27
                  anguish in an amount subject to proof at trial.
         28
                                                                       10
                                                         COMPLAINT FOR DAMAGES
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               1                51 .      The persons who committed die unlawful acts described herein were officers,

               2     directors, or managing agents of Defendants acting witlrin die scope of their employment

               3     Moreover, Defendants and its agents aided, abetted, incited, compelled, and/or coerced the

               4     commission of die alleged discrimination. The unlawful acts described herein were committed

               5     with oppression, fraud and/or malice and were authorized, ratffied or bodi by such officers,

               6    directors, or managing agents, and therefore, Plaintiff seeks an awar d of punitive damages in an

               7    amount according to proof

              8                52.      Due to Defendants' discrimination, Plaintiff has inclined and continues to incur

              9     legal expenses and attorneys' fees, all to Plaintiffs damage in a sum according to proof.

          10                                              SECOND CAUSE OF ACTION
                                                      Retaliation In Violation Of FEHA
          11
                             (Violation ol Government Code § 12940(h), elseq. and related statutes and regulations)
 Cl «
 D 8      12                                          {By Plaintiff Against Defendants)
 Q I
 C£ s,                        53.       Plaintiff hereby incorporates by reference Paragraphs 1 through 42 of tins
          13
 P *
                    Complaint as if fully set forth herein, and for a cause of action alleges as follows;
 | IS     14
pil
P_Z'|
          15                  54,      At all limes material to tire Complaint, Government Code § 12940(h) was in lull

                    force and effect and was binding on Defendants, litis section of lire FEHA requires Defendants to
$4 10     16
                   refrain from retaliating against any employee for asserting their rights under the FEHA. Plaintiff
         17

                   engaged in protected activity bj complaining of unlawful harassment disciimiuation and/or
         18
                   retaliation, opposing and refusing to participate in such activity, and participating in asserting his
         19
                   rights.
         20
                             55.       As alleged in pari above, Plaintiffexercised these rights under the FEHA and
         21
                   engaged in protected activity.
         22
                             56.       Plaintiffs exercise of such rights under the FEHA was at least a substantial
         23
                   motivating factor in Defendants' decision 10 take various adverse employment actions against
         24

                   Plaintiff, for example, as alleged in part above.
         25

                             57.       As a proximate result of the af oresaid acts of Defendants in violation of die FEHA,
         28
                   Plaintiff has sustained and continues to sustain economic kisses, emotional distress, and mental
         27

                   and physical pain and anguish in an amount subject to proof.
         28
                                                                        ll
                                                           COMF1 .At NT FOR DAMAGES
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                    1             ,58.      The persons who committed the unlawful acts described herein were officers,

                 2        directors, or managing agents of Defendants acting within titc sco|x' of their employment,

                 3 I Moreover, Defendants and their agents aided, abetted, incited, compelled, and/or coerced tlie

                 4        commission of such unlawful acts. The unlawful acts described herein were committed witli

                 5        oppression, I ratal and or malice and were authorized, ratified or botli by such officers, directors,

                 6        or managing agents. As a result of Defendants' willful, knowing, and intentional discrimination and

                 7 I retaliation against Plaintiff', Plaintiff' seeks an award of punitive damages in an amount according to

                 8 || proof.

                9                ,59.      Due to Defendants' violation of the FEHA, Plaintiff has incurred and continues to

            10           incur legal expenses and attorueys' fees, all to Plaintiffs damage iu a sum according to proof.

            11                                                 THIRD CAUSE OF ACTION
 Q. g                                              Retaliation In Violation Of Labor Code Section 98,6
 D «        12
                                       (Violation of Labor Code §§ 98.6, et seq. and related statutes and regulations)
 0 I
 Q£ $>                                                        (By Plaintiff Against Delendants)
            13
 (ri i
 >
 >   -SS                         60.       Plaintiff hereby incorporates by reference Paragraphs 1 dirough 42 of this
            14
 < I*
r £5                     Complaint as if fully set forth herein, and for a cause of ac tion alleges as follows:
H xi        15
                                 61.       At all times material to the Complaint, the California Labor Code was in full force
5?tl        16
                         and effect and was binding on Defendants.
            17
                                62.        The labor Code, as well as other California laws, set forth numerous obligations
            18
                        for employers, provide protections and rights to employees, and set forth various anti
           19
                        discrimination and anti-retaliation provisions prohibiting employers from discriminating or
           20
           2-j it retaliating against employees in the exercise of such rights.

                                63.       Labor Code section 90,5 states " JiJt is the policy of this state to vigorously enforce
           22

                        minimum labor standards in order to ensure employees are not required or permitted to work
           23
                        under substandard unlawful conditions or for employers that have not secured the payment ol
           24
                        compensation, and to protect employers who comply with the law from those who attempt to gam
           25
                        a competitive advantage at tire expense of their workers by failing to comply Willi miuimnm labor
           26
                        standards," The Division of Labor Standards Enforcement "may enforce (lie provision ol the
           27
                        Labor Code and all labor laws of das state die enforcement of which is not specifically vested in
           28
                                                                             12

                                                              COMPLAINT FOR DAMAGES
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                  1     any other officer, board or commission." Labor Code § 9,5. Under the labor Code, an action may

                 2      also be prosecuted "for die collection of wages and other moneys payable to employees or to the

                 3      suite arising out of an employment relationship." Labor Code § 98.3.

                 4              64.     A cause of action for retaliation lies where the Plaintiff shows he or site engaged in

                 5     a protected activity, the employer subjected that person to an adverse employment action, and

                 6     there is a causal nexus between the two.

                 7             65,      labor Code section 98.6 provides inter aim that "no person shall discharge an

                8      employee or in any manner discriminate against any employee . . . because the employee . . .

                9      engaged in any conduct delineated in th|ej chapter . . . or because of die exercise by the employee

            10         ... of any rights afforded him or her." That section further provides that any employee who

  i         11         sutlers adverse action lor such conduct or in die exercise of rights afforded him or her shall be
 £ S
 D «        12         entitled to various remedies, including reimbursement ol lost wages and work benefits. Labor
 0 I
 Q£ 5
            13         Code § 98.6.
 O t
      ig
 $ 1|       14-                66.     Under labor Code section 96 and related statutes, tut employee may assert a claim
A^
H .si       15         lor damages, loss of wages, and other remedies under various circumstances, including if die
      zv
       c

                      employee suffers damage as a result of misrepresentation of'die conditions of employment or lor

            17        loss of wages as a result of demotion, suspension, or discharge from employment for lawful

           18         conduct occulting during nonworking hours.

           19                 67.     Labor Gxte section 98.7 provides Uiat any person who believes drat he or she has

           20          >een discharged or otherwise discriminated against in violation of any law under the jurisdiction of

           21         die labor Commissioner may cidter pursue administrative remedies by filing a complaint with the

           22         labor Commissioner, or alternately, by filing an action in Court, which shall have jurisdiction to

           23         determine whether a violation occurred, and if so, to restrain die violation and order all

           24         appropriate relief to remedy the violation. Appropriate relief includes, hut is not limited to,

           25         rehiring or reinstatement of die complainant, reimbursement of lost wages and interest thereon,

           26         payment of reasonable attorney fees, and odier compensation or equitable relief as is appropriate

           27         under the circumstances of die case, labor Code § 98.7. Exercise of the rights and remedies so

           28         provided neither require Uiat an employee exhaust administrative remedies or procedures in die
                                                                        13
                                                          complaint for da magf.s
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                      1      first District', nor preclude an employee from pursuing any other lights and remedies provided by

                  2          law. Labor Code $ 98 JtfMg).

                  3                  68.     At till times material to die complaint, die labor Code and other statutes as alleged

                  4         herein were in full forte and effect and binding on Defendants. These statutes required

                  5         Defendants to refrain from violating die Labor Code, including retaliating against or odierwise

                  6         taking any other adverse action against any employee in the exercise of such lights provided or for

                  7         engaging in protected activity.

                  8                 69.      Plainlilf exercised rights alforded to him and was engaged in such protected artivity.

                 9          including, without limitation, by engaging in lawful and protected activity, reporting activity that was

             10             in violation of law and /'or PlaiutilJ liad reasonable cause to believe was in violation of law, rule, or

  S          11             regulation, seeking to assert lais riglits and obtain benefits and coinpeusadon as a disabled person,
 d g                           _
 3 05        12            acting based on and in accordance with representations and agreements by his employer and its
 81
 O r
             13            agents, requesting and/or requiring reasonable accommodation, and opposing mid refusing to

 <;          14            participate in activity and a course of conduct dial would result, or upon reasonable belief could
 <    s®
 3 hi
      IP
      SiI    15            result, in violation or noncompliance with law, rule, or regulation.

             <«                     70.     Plaintiff's exercise of riglits alforded to him and his engagement in such protected

             17            activity was at least a substantia] motivating factor in Defendants' adverse employment actions

            18             against Plaintiff, as alleged above, including die various adverse treatment, to which Plaintiff lias

            19            been subjected.

            20                     73 .    As a proximate result of Defendants' willful, blowing, mid intentional violations,

            21            Plaintiiriias sustained and continues to sustain economic losses, including, widiout limitation, lost

            22            wages mid loss of otlier employment benefits, emotional distress, and mental mid physical pain mid

            23            anguish in an amount subject to proof.

            24                     72.     The persons who committed die unlawful acts described hereiu were, officers,

            25            directors, or managing agents of Defendants acting within the scope of their employment.

            26            Moreover, Defendants mid their agents aided, abetted, incited, compelled, and/or coerced die

            27            commission of such unlawful acts. The unlawful acts described herein were committed with

            28            oppression, fraud and/or malice and were authorized, ratified or both by such officers, directors,
                                                                              14
                                                               "complaint for oamac.ls
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                   1    or managing agents. As a result of Defendants' willful, knowing, and intentional discrimination and

                  2     retaliation against Piainrilf, Plaintiff seeks an awaul of punitive damages in an amount according to

                  3     proof.

                  4               73.        Due to Defendants' violations as alleged herein, Plain till has incurred and

                  5     continues to incur legal expenses and attorneys' fees, all to Plaintiffs damage in a sum according to

                  6     proof,

                  7                                            FOURTH CAUSE Of ACTION
                                                    Wrongful Termination In Violation Of Public Policy
                  8
                                        (Violation of labor Code § 1 102.5 et seq. and related statutes and regulations)

                  9                                            (By Plan itill Against Defendants)

                                  74.       Plaintiff hereby incorporates by reference Paragraphs 1 through 42 of this
              10
                        Complaint as if fully set forth herein, and for a cause of action alleges as follows:
   A.
              11
  Q. x                            75.       At till times mentioned, die public policy of the State of California, as coddled,
  D S         12
  C I
  2 *                  expressed and mandated in Government Code § 12940, ct sty., is to prohibit employers from
              13
  O £e
  % if        14
                       discriminating, harassing and retaliating against any individual on the basis of, but not limited to,

    &
    si       15
                       sex, race, age, disability, color, religion, and national origin as identified in California Government

 ft
 Xjt o f
 i-SH So
        zl
             16
                       Code § 12940 (a)-(o). This public policy of the State of California is designed to protect all

                       employees and to promote the welfare and well-being oi the community at large. Accordingly, lire
             17
                       actions of Defendants, and each of them, in teniiiuatiug Pbuuiiffon October 18, 2019, on the
             18
                       grounds alleged and described herein were wrongful and in contravention of the express public
             19
                       policy of the State of California, to wit, the policy set forth in California Government Code §§
             20
                       12940 <( seq., and the laws and regulations promulgated thereunder.
             21
                                 76.       As a proximate result of die aforesaid acts of Defendants, and each of them.
             22

                       Plaintiff has suffered actual, consequential and incidental financial losses, including without
             23
                       limitation, loss of salary and benefits, and the intangible loss of employment related opportunities
             24
                       in his field and damage to tier professional reputation, all in an amount subject to proof at the lime
             25
                       of trial. Plaiutilf claims such amounts as damages pursuant to Civil Code § 8287 and/or f? 8288
             26
                       and/or any ot her provision of law providing for prejudgment interest.
             27
                                 77.       As a proximate result of Defendants* willful, knowing, and intentional violations,
             28
                                                                             15

                                                               COMPI A I NT FOR DAMAGES
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                                                                                                                lost
           1   Plaintiff has sustained and continues to sustain economic losses, including, without limitation,
                                                                                                             and
           2   wages and loss of other employment benefits, emotional distress, and mental and physical pain

           3   anguish in an amount subject to proof.

           4           78,     The acts taken toward Plaintiff were carried out by Defendants and/or one of

           5   Defendants officers, directors, an<l/or managing agents acting in a despicable oppressive,

           6   fraudulent, malicious, deliberate, egregious, and inexcusable manner and in conscious disregard

           7   for the rights and safety of Plaintiff, ami in direct violation of California law, thereby justifying an
                                                                                                          ,
           8   award of punitive damages in a sum appropriate to punish and make an example of Defendants

           9   and each of them.

          10                                        FIFTH CAUSE OF ACTION
                                               Harassment In Violation of FEHA
          11
                     (Violation of Government Code § 12940(j), et set), and related statutes and regulations)
  9: §                                             (By Plaintiff Against Defendants)
  D «     12
  0 I                  79.     Plaintiff hereby incorporates by reference Paragraphs 1 through 42 of litis
  C£ m    13
  P U
  > <5
  > JS
               Complaint as if fully set forth herein, and for a cause of action alleges as follows;
          14
  if Is
                       80.     At all times herein mentioned, California Government Code § 12940 et seq. was in
          15
 y?       18
               full force and effect and was binding on Defendants, California Government Ctxle § 12940 et seq.

               provides that it is an unlawful employment practice for an employer or any other person, because
          17

               of disability, national origin, color, gender, or religion to harass an employee and that such persons
          18

          19
               shall take all reasonable steps to prevent harassment from occurring,

                       81 .    Defendants willfully and intentionally engaged in conduct to harass and intimidate
          20
               Plaintiff by creating a hostile work enviroiuncnt
          21
                       82.     Defendants' harassing conduct included but is not limited to the conduct alleged
          22
               above, and further ratifying and attempting to justify and excuse Defendants' illegal conduct .
          23
                       83.     Defendants also failed to take appropriate corrective action to prevent harassment
          24
               from continuing or otherwise collecting such unlawful conduct At no time did Defendants lake
          25
               any corrective action with respect to this serious and severe conduct Def endants' actions were so
          26
               severe, pervasive, and/or abusive that this altered and has altered the terms and conditions of
          27
               Plaintiffs employment.
          28
                                                                   16

                                                    "COMPLAINT FOR DAMAGES*
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           1           H I.     As a proximate result of Defendants' willful, knowing, and intentional violation oI

           2   the FEHA, Plsiintiil lias sustained and continues to sustain economic losses, emotional distress,

           3   and mental and physical pain iUid anguish in an amount subject to proof.

           4           85.      The persons who committed the unlawful acts described herein were officers,

           5   directors, or managing agents of Defendants acting within the scope of their employment,

           6   Moreover, Defendants and their agents aided, abetted, incited, compelled, and/or coerced tlie

           7   commission of such unlawful acts. The unlawful acts described herein were committed widi

           8   oppression, fraud and/or malice and were audiorized, ratified or bulb by such officers, directors,

           9   or managing agents. As a result of Defendants' willful, knowing, and intentional discrimination,

          10   retaliation, and harassment against Plaintiff, PlamtilT seeks an award of punitive damages in an

          11   amount according to proof.
 Cl «
  D       12           86.      Due to Defendants' violation of the IT,I 1A, Plaintiff has incurred and continues to
  O I
    *     13   incur legal expenses and attorneys' fees, all to Plaintiffs damage in a sum according to proof.
  P i
      H
 %
 < P
                                                    SIXTH CAUSE OF ACTION
 p fs                                 Failure To Prevent Harassment And Discrimination
 H Is     15         (Violation of Government Code § 1 2940(k). et seq. and related statutes and regulations)
 f—jvzf                                       (By Plaintill Against Defendants)            *
 S4 «     '6
                       87.      Plaintiff hereby incorporates by reference Paragraphs l durougit 42 of tliis
          17
               Complaint as if fully set forth herein, turd for a cause ol action alleges as follows:
          18
                       88.      Plaintill had, or was perceived to have, a past, current, or future disability that
          19
               imited at least one major life activity.
          20
                       89.      Defendants and its managing agents knew or should have known dial Plaintiff was,
          21
               or was perceived to be, an individual with past, current, or future disability dial limited at least one
          22
               major life activity.
          23
                       90.      At all times herein mentioned, Government Code § I2940(k) was in full force and
          24
               effect and was binding on Defendants. This section makes it an unlawful employment practice for
          25
               an employer to fail to take alt reasonable steps necessary to prevent discrimination, harassment,
          26
               and retaliation from occurring,
          27
                       91 .     Notwithstanding notice of their obligation to prevent and remedy discrimination,
          28
                                                                   17

                                                     COM PI A INT FOR DAMAGES
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                                                                                                      example,
              1   harassment, and retaliation, Defendants failed to take adequate steps to do so. For
                                                                                              procedures relating
              2   Defendants failed to properly implement and follow appropriate policies and
                                                                                                       ly to train their
              3   to compliance with anti-discrimination and anti-retaliation laws, failed to adequate

                                                                                              e and making related
              4   managers and agents responsible for carrying out such policies and procedur

                                                                                              unlawful behavior and
              5   decisions, failed to timely and properly investigate and prevent continuing

                                                                                             had or should have been
              8   retaliation, and failed to properly discipline and monitor individuals who

                                                                                                employees or engaging
              7   suspected of unlawful discruiuuatioii, harassment, and/or retaliation against

              8   in other unlawful behavior, or otherwise remedy such violations.

              9           92,     As a proximate result of Defendants' willful, knowing, and intentional

                                                                                                  as alleged her ein,
             10   discrimination and retaliation against Plaintiff and Defendants' other failures

                                                                                                         and mental
   5         11   Plaintiff'lias sustained and continues to sustain economic losses, emotional distress,
                                                   _                              _
  Cl g
  D «       -12   and physical pain an<I anguish in an amount subject to proof.
  O I
  OJ «       13           93.     The persons who committed die unlawful acts described herein were officers,
  ID ¥
                                                                                               employment.
  $ IS       14   directors, or managing agents of Defendants acting within die scope of their
  5                                                                                                      die
       5i    15   Moreover, Defendants and its agents aided, abetted, incited, compelled, and/or coerced
 r*Tj*si                                                           „
                                                                                                    d with
       §3    16   commission of such unlawful acts. The unlawful acts described herein were committe
                                                                                                          directors,
             17   oppression, fraud and/or malice and were authorized, ratified or both by such officers,
                                                                                                 al unlawful acts
             18   or managing agents. As a result of Defendants' willful, knowing, and intention

                                                                                               according to proof.
             19   against Plaintiff, Plaintiff seeks an award of punitive damages in an amount

                                                                                                                  legal
             20           .94.    Due to Defendants' unlawful acts, Plaintiff has incurred and continues to incur
                                                                                               proof.
             21   expenses ami attorneys' fees, all to Plaintiffs damage in a sum according to

             22                                        SEVENTH CAUSE OF ACTION
                                        Failure to Pay Minimum and Overtime Wages
                                                                                                         Older)
                        (Violation of labor Code §S .510, .5.58, 1 194 et seq., 1 197.1, 1 198, IWC Wage
             23
                                                  (By Plaintiff Against Defendants)
             24
                          9,5.    Plaintiff hereby incorporates by reference Paragraphs 1 through 42 of this
             25
                  Complaint as if fully set forth herein, and for a cause of action alleges as f ollows:
             26
                          96,     At all times relevant, die IWC Wage Orders applicable to Plaintiffs employment
             27
                                                                                                       or forty
                  by Defendants provided that employees working for more dian eight (8) hours in a day
             28
                                                                       18

                                                        COMPLAINT FOR DAMAGES
Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 23 of 57 Page ID #:38




              1    {40} hours us a work week are entitled to overtime compensation at die rate of one and one-half

              2    times tiie regular rate of pay for all hours worked in excess of eight (8) hours in a day or forty (40)

              3    hours in a work week.

              4            97.     labor Code 8 510 codifies the obligation to pay overtime eomjtensation at the rate

              5    of one and one-half times the regular rate of pay for all hours worked in excess of eight (8) hours in

              6    a day or forty (40) hours in a work week and to overtime compensation at twice tire regular rate of

              7    pay for hours worked in excess of twelve (12) hours in a day or in excess of eight (8) hours in a day

              8    on the seventh day of work in a particular work week.

              9            98.     Plaintiff oftentimes worked in excess of eight (8) hours in a day and/or forty (40)

          10       hours in a week but Defemkuiis did not pay Plaintiff overtime compensation as required by law.

          11               99,     At all times relevant, Plaintiff regularly performed non-exeropt work, including in
 G_ |                                                                                   _
 D «     12       excess of 50% of the time in which Plaiutifl was working for Defendants, aiul tints, was subject to
 O I
 OL 5.
 0 ^     13       the overtime requirement.-, of die applicable IWC wage orders and the labor Code.

         14                100,    Defendants' failure to pay Plaintiff such premium overtime compensation violates
5
c   p                                                         .                     .                             ,
W        15       die provisions of labor Code 8 510 and § 1 198, and die applicable IWC wage orders and is
rr^i
    53   16       dierefore unlawful.
         17               101.    Defendants owe. Plaintiff overtime wages, has tailed and refused, and continues to

         18        ail and refuse, to pay the overtime wages owed.

         19               102.    Pursuant to labor Code 8 1 1 94, Plaintiff is entitled to recover unpaid overtime

         20       compensation, as well as interest, costs, and attorneys' fees.

         21                                          EIGHTH CAUSE OF ACTION
                                                     Failure to Provide Meal Periods
         22
                                   (Violation of" Labor Code 88 226.7, 512, 1 198, IWC Wage Order)
                                                     (By Plaintiff Against Defendants)
         23
                          103,    Plaintiff hereby incor|>orates by reference Paragraphs 1 through 42 of this
         24
                  Complaint as if fully set forth herein, and for a cause of action alleges as follows;
         25
                          104.    Pursuant to foibor Code 8 512. no employer shall employ an employee lor a work
         26
                  jieriod of more than five (5) hours without providing a meal break of not less than diirty (30)
         27
                  minutes in which die employee is relieved of all of his or her duties. Likewise, no employer shall
         28
                                                                     19
                                                       COM HAIN'T FOR DA MAC FN
Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 24 of 57 Page ID #:39




               1    employ an employee lor a work period of more tlian ten (10) hours wit! a ait providing a second

              2     meal period of not less than thirty (30) minutes unless that employee works less than twelve (12)

              3     hours and agrees to waive said second meal period.

              4              10.5.      Pursuant to tlie IWC wage orders applicable to Plaintiffs employment by

              5     Defendants, in order for an "on duty" meal period to be permissible, the nature of the work of the

              6     employee must prevent an employee from being relieved of all duties relating to his or her work

              7     for the employer,. and the employee must consent in writing to the "on duty'' meal period. Plaintiff

              8     did not consent in writing to an "on duty" meal period. Despite said requirements of die IWC

              9     wage orders applicable to Plaintiffs employment by Defendants and Labor Code § .512 and §

          10        226.7, PlaintiffWas not provided with timely, uninterrupted first meal periods, and was similarly

          11       not provided with a second meal periods when such should iiave been provided.
 a, £
 D x     12                 106".      Defendants failed to provide Plaintiff all required meal breaks of not less than thirty
 0 I
 a *     13         (30) minutes pursuant to the IWC wage orders applicable to Plaintilfs employment by

 % l|    14        Defendants. In addition, Defendants failed to record meal breaks (and the absence thereof) in
56
H        15        compliance with the l abor Code and applicable IWC wage order provisions. As a proximate

5$
HH 8ic   16        result of die aforementioned violations, Plaintiff lias been banned in an amount according to proof

         17        at time of trial.

         18                 1 07.      Pursuant to labor Code § 226.7, Plaintiff is entitled to recover one ( I) hour of

         19        premium pay for each day in which a lawful meal period was not provided.

         20                                               NINTH CAUSE OF ACTION
                                                          Failure To Timely Pay Wages
         21
                                                 (Violation of Labor Code §§ 201 , 202, and 203)
                                                         (By Plaintilf Against Defendants)
         22
                           108.        Plaintiff'hereby uicor|>oralcs by reference Paragraphs 1 through 42 of this
         23
                   Complaint as if fully set forth herein, and for a cause of action alleges as follows:
         24
                           109.        Sections 201 and 202 of die Califoniia Labor Code requires Defendants to pay
         25
                   employees all wages due within 24 hours of termination of employment. Section 203 of die labor
         26
                   Code provides that if an employer willfully tails to timely pay such wages die employer must, as a
         27
                   sanction and amount owed, continue to pay the subject employee's wages until die back wages are
         28
                                                                        20
                                                           COMPLAINT FOR DAMAGES
Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 25 of 57 Page ID #:40




                   1    paid in lull or an action is commenced. Hie sanehon and amount owed cannot exceed 30 days of

                  2     wages.



                  3               1 10.          Plaintiff is entitled to comjH-nsaUon lor all forms of wages earned, including, but

                  4     not limited to, regular and overtime wages that were improperly and/or insufficiently paid and

                  5     vacation rormnissions, compensation for non-provided meal and rest periods, but to date has not

                  6     received such compensation, therefore entitling Plaiiiui! to labor Code set lion 203 amounts and

                  7     penalties.

               8                  Ml,            More than 30 days have passed since Plaintiff has left Defendants' employ, and

                  9     Plaintiff has not received paymeut pursuant to Labor Code section 203.

              10                 1 12.          As a consequence of Defendants' willful conduct in not paying all earned wages,

  5,
              11       Plaintiff is entitled to 30 days' wages under labor Code section 203 for failure to pay legal wages.
 ft g
 D «         12        Plaintiff is also entitled to rut additional 30 days' wages under Labor Cork* section 203 for willful
 O I
 fn *        13        failure to pav one hour wages for rest and meal period violations and failure to pav all wages owed
 5 if                                     ' t                                  .                                     "
       Jj;   14        together with interest thereon and attorneys' fees and costs.


(3s;         15                                                    TENTH CAUSE OF ACTION
                                                    Failure To Reimburse for Business Expenditures and Losses
6?S          16
                                                                (Violation of labor Code § 2802)
                                                                  (By Plaintiff Against Defendants)
             17
                                 1 1 3.         PfuntxlT hereby incorijo rates by reference Paragraphs 1 through 42 of this
             18
                       Complaint its if fully set forth herein, and for a cause of action alleges as follows:
             19
                                 1 14.          Pursuant to California Labor Code § 2802(a), "lain employer shall indemnify his or
             20
                       ter employee lor all necessary expenditures or losses incurred by the employee in direct
             21
                       consequence of the discharge of his or her duu'es, or of his or her obedience to the directions of
             22
                       die employer, even though unlawful, unless die employee, at die time of obeying die directions,
             23
                       relieved (hem to he unlawful."
             24
                                 1 13.          As a pattern and practice, Defendants regularly failed to reimburse and indemnify
             25
                       daintilf for business expenses,
             26
                                 1 16.          Pursuant to Calilbmia Labor Code § 2802, Plaintiff awl Class members are entitled
             27
                       to recover unreimbursed business expenses. As a proximate result of these violations, Plaintiff lias
             28
                                                                                   21
                                                                    COMPLAINT FOR DAMAGES
Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 26 of 57 Page ID #:41




            1   been damaged in an amount according to proof at time of trial Pursuant to California Labor

            2   Code § 2802(e), Plaintiff is also entitled to recover interest, costs, and attorneys' fees. Plaintiff is

            3   further entitled to attorneys' fees pursuant to California Code of Civil Procedure §1021.5, and

            4   pursuant to Califoniia l abor Code § 2699(g)(1), Plaintiff is entitled to an award of reasonable

            5   attorneys' fees and costs relating to their claims lor civil penalties.

            6                                      ELEVENTH CAUSE OF ACTION
                                                Improper Deductions and Withholdings
            7
                                               (Violation of Labor Code §§ 201, 221-223)
                                                    (By Plaintiff Against Defendants)
            8
                         1 1 7.   Plaintiff hereby incorporates by reference Paragraphs 1 through 42 of this
            9
                Complaint as if fully set forth herein, and lor a cause of action alleges as follows;
           10
                         1 1 8.   Pursuant to California Labor Code §§ 221-224 and 2860, it is unlawful for an
           11

 it ®           employer to collect or receive from an employee any part of the employees' wages and to make
 D »       12
 0 I            improper, unlawful, or unauthorized deductions from employees' paychecks.
 x «       13
 O r
                         1 19.    Plaintiff is informed and lielieve and thereon allege that, in violation of §§ 221-223,
^ 1~       14
Sis
p               and 2860, Defendants improperly deducted items and expenses from the paychecks of Plaintiff to
     si    15
r~7i 2"!        which Defendants were not entitled.
p Si       16
                         1 20.    As a proximate cause of these violations, Plaintiff and other Class members liave
           17

                been damaged in an amount according to proof at time of trial. Plaintiff'and tlieotlier Class
           18
                members are entitled to recover the unpaid balance of wages owed, penalties, including penalties
           19
                available pursuant to California Labor Code § .558, plus interest, reasonable attorneys' fees and
           20
                costs of suit.
           21
                                                   TWELFTH CAOSE OF ACTION
           22
                                                      Failure To Pay Commissions
           23                                   (Violation of Labor Code §§ 200, 204. 1)
                                                    (By Plaintiff Against Defendants)
           24
                         1 21 .   Plaintiff hereby incorporates by reference Paragraphs J tlirougb 42 of tins
           25
                Complaint as if fully set forth herein, and lor a cause of action alleges as follows:
           26
                         122.     Plaintiff earned commission wages within the meaning of California labor Code
           27
                Sections 200 and 204. 1 .
           28
                                                                    22

                                                      COMPffUNT FOR DAMAGES
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              1              123.     Defendants knowingly, intentionally and willfully failed and refused to pay to

             2     Plaintiff the full and complete amount of die commissions he earned.

             3               121.     Plaintiff entered into written commission contracts with Defendants. These

             4     contracts prorided thai Delendants would pay commissions based on sales credited to Plaintiff and

             5     in accordance with the commission rates set fortti in his Compensation Plans.

             6              125.      Plaiutilf has performed all of tlie duties and obligations required of them by

             7     Defendants that would entitle them to receive commissions. Plaintifflias met ail lawful conditions

             8     precedent to the earning of commissions. Delendants have credited Plaintiff for sales that are

             9     encompassed by his commission contracts.

         10                 126.      Pursuant to California labor Code §§ 200 etscq.. Plaintiff is entitled to recover

         11       unpaid commissions, with interest, attorney's fees, costs, jieuaities, all in an amount to he proven at
 Q. «
 D S    12        trial.
 Q'l
 ££ £   40
 o >                                                 THIRTEENTH CAUSE OF ACTION
 <;
 <1 14                                                         Unfair Competition
                                    (Violation of California Business and Professions Code § 17200, etsaj.)
        15                                           (By Plaintiff Against Each Defendants)

31 16                      127 .     Plaintilf hereby incorporates by reference Paragraphs I through 42 of this

        17        Complaint as if lull) set forth herein, and for a cause of action alleges as follows:

        18                 1 28.     A violation of California Business and Professions Code §§ 17200, cl sty., may lie

        19        predicated on die violation of any state or federal law, Defendants' policies, activities, and actions

        20        as alleged herein, are violations of California law and constitute unlawful business acts anil

        21        practices in violation of California Business and Professions Code §§ 17200, el seq. Defendants

        22        lias engaged and continue to engage in unfair and unlawful business practices in California by

        23        practicing, employing, and utilizing die employment practices outlined above, including lading to

        24        pay reporting time pay, and failing to provide meal and rest breaks in violation of lite applicable

        25        IVVC Wage Oreler and California labor Code.

        26                 1 29.     Plaiutill lias also been personally aggrieved by Defendants' unlawful and unfair

        27        business arts and practices alleged herein by die loss of money and/or property.

        28                 130.      Delendants' conduct, as alleged in tills Complaint, has been, and continues to be,
                                                                      23

                                                         COMPLAINT FOR DAMAGES
Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 28 of 57 Page ID #:43




          1   unfair, unlawful, and harmful to Plaintiff, Defendants' competitors, and the public. Plaintiff seeks
                                                                                                              Gate
          2   to enforce important rights affecting lite public interest within the meaning of the California

          3   of Civil Procedure § 1 02 1..5.

          4              131 ,   Pursuant to California Business and Professions Code §§ 17200, ct vcr/.. Plaintiff is
                                                                                                            time
          5   entitled to restitution of lite wages withheld and retained by Defendants duriug the relevant

                                                                                                             Code
          8   period; an award of attorneys'' fees pursuant to California Labor Code § 1 194; and California

          7   of Civil Procedure § 1021,5; interest; and an award of costs.

          8   VII.               PRAYER FOR RELIEF

                                                                                                             as
          9   Wherefore, Plaintiff prays for tut award and judgment against Defendants jointly and severally

         10   follows:

         11              1,      For con i| ici isatory damages;
 Q. «
 D s     12              2,      For general damages, including, without limitation, for physical harm and/or mental
 0 I
 C£ *    13
              and emotional distress according to proof on applicable causes of action;
 $k
 > 12    14              3,      Foi punitive damages on applicable causes of action;
 < l<
 h Si    is              4,      For applicable penalties;
 f-yrf
it u     «               5,      For injunctive relief on applicable causes of action;

         17              6,      For an award of interest, including prejudgment interest, at the legal rate;

         18              7,      For an award of attorneys' Ices on the applicable causes of action;

         19              8,      For costs of suit incurred; and

         20              9,      For such oilier and further relief as die Court deems appropriate.

         21                                          DEMAND FOR JURY TRIAL

         22   Plaintiff hereby demand a jure trial in this matter on all matters triable to a jury.

         23

         24

         25

         26

         27

         28
                                                                   24

                                                       COMP1.AINT Ft )K DAMAGES
Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 29 of 57 Page ID #:44




             1
                                                     KJT LAW GROUP, LLP
             2                                       Christopher A. Adams, Esq.
                                                     Vac he A. Thomassian, Esq.
             3                                       Caspar Jivulagrui, Esq.

             4

             5
                                                             |
             6                                                V
                                                                 [h
             j   Dated: March JO, 2021      By:
                                                  Attorneys lor Plaiuhll Jason Arnold

             8

             9

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       Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 30 of 57 Page ID #:45
                                                                                                                                                                  Deputy Clerk
Electronically FILED by Superior Court of California, County of Los Angeles on fl35fQW)BM.1)2 PM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Barel,
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                                                                                      number, ami tolit***):.                                                                                    FOR COURT use ONLY



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                 230 North Ma rylartd Avenue, Suite 306
                 Glcndale, CA 9 1 206
                     telephone no 8 i 8-507-8525                                                             pax no.- 818-507-8588
               attorney ron (Hump JASON ARNOLD
           SUPERIOR COURT Op CALIFORNIA, COUNTY- OF LOS ANGELES
               STREET ADDRESS: J 1 \ North Hill SlTCCt
                         MAILING ADORESS j 1 1 NOTth Hill StfeCt
                         city and opcode        Los Angeles, CA 90012
                             BRANCH NAME:      Stanley Mosk Courthouse
                CASE NAME:
                JASON ARNOLD v. PELLA CORPORATION
                                                                                                                                                                             CASE NUMBER
                         CIVIL CASE COVER SHEET                                                                    Complex Case Designation
            I /. I Unlimited                         1    1 Limited                                                                                                          21STCV09481
                                                                                                        i          I Counter              I      I Joinder
                            (Amount                         (Amount                                                                                                           JUDGE:
                            demanded                        demanded is                               Filed with first appearance by defendant
                            exceeds $25,000)                $25,000 or less)                              (Cal. Rules of Court, rute 3.402)                                    DEFT

                                                                   Items 1-6 below must be completed (see Instructions on page 2).
           1 . Check one box below for the case type that best describes this case;
                     Auto Tort                                                                   Contract                                                             Provisionally Complex Civil Litigation
                                                                                                                   Breach of contract/warranty (06)                   (Cal. Rules of Court, rules 3.400-3 403)

                     H           Auhi (22)
                                 Uninsured motorist (46)                                     H                     Rule 3.740 collections (09)
                                                                                                                   Other collections (09)
                                                                                                                                                                  I
                                                                                                                                                                  I
                                                                                                                                                                          I Antitrust/Trade regulation (03)
                                                                                                                                                                          ^ Construction defect (10)
                 Other PI/PD/WD (Personal injury/Property
                 Damage/Wrongful Death) Tort
                     I      I Asbestos (04)
                                                                                             0 contract (37)       Insurance coverage ( 18)                       f~ 1 Mass tort (40)
                                                                                                                                                                          i Securities litigation (28)
                                                                                             riOther                                                              1
                     I      i Product liability (24)                                         Real Property                                                        1 ' 1 Environmental/Toxic tort (30)
                     I      I Medical malpractice (45)                                       I                   I Eminent domain/Inverse                         i 1 Insurance coverage claims arising from the
                                                                                                                   condemnation (14)                                        above listed provisionally complex case
                              Other Pf/PO/WD (23)                                                                                                                           types (41)
                                                                                                                   Wrongful eviction (33)

                 i
                     Non-Pl/PD/WD (Other) Tort

                            1 Business tort/unfair business practice (07)
                                 Civil rights (08)
                                                                                            BUnlawful Detainer
                                                                                                                   Other real property (26)                       Enforcement of Judgment
                                                                                                                                                                  )       I Enforcement of judgment (20)
                                 Defamation (13)                                                                  Commercial (31 )                                Miscellaneous Civil Complaint

                                 Fraud (16)                                                                       Residential (32)                                f~~~) RICO (27)
                                 Intellectual property (19)                                 I. j Drugs (38)                                                       I 1 Other complaint (no/ specifier! above) (42)
                 H               Professional negligence (25)                                 total Review
                                                                                           Judk                                                                   Miscellaneous CM) Petition
                            I Other non-PI/PO/WD tort (35)                                                                                                       CD Partnership and corporate governance (21)
                 I
                 Employment                                                                0                      Asset forfeiture (05)
                                                                                                                  Petition re. arbitration award (11)             Q other petition (nof spoked above) (43)

                 F7_ Wrongful termination (36)                                                               i    Writ of mandate (02)

                r;               Other employment (15)                      —I...,   i . 1 1 1 .nrr i,v m,
                                                                                                             j Other Judicial review (39)
                                                                                                                        1   i M    —             n         mi                          I,,..,.         n
                            ——                           pi—""j"


          2. This case I                      I is           complex under rule 3.400 of the California Rules of Court, if the case is complex, mark the
                                                         I / I is not
                     factors requiring exceptional judicial management:
                     a, I        I Large number of separately represented parties                                                 d.            Large number of witnesses
                     b f         I Extensive motion practice raising difficult or novel                                           e. i        I Coordination with raiated actions pending in one or more courts
                                    issues thai will be time-consuming to resolve                                                              in other counties, states, or countries, or in a federal court

                     c. [ZD Substantial amount of documentary evidence                                                            f. 1        1 Substantial postjudgment judicial supervision
          3. Remedies sought (check all that apply}: a.i / I monetary                                                        b.l         I nonmonetary; declaratory or injunctive relief                          c. f       i punitive
          4. Number of causes of action (specify): 1 3
          5. This case 1                      I is       1 / I is not       a class action suit.
          6.         If there are any known related cases, file and serve a notice of relatedjoase. (Voj                                                                 use form CM-015.)

          Date:
                                          Vache A, Thomasstan
                                                     (TYPE OK PRINT NAME)
                                                                                                                                                                ftkSNATURE OF PARTY OB ATTORNEY -ON PANTVT
                                                                                                                            NOTICE
            » Plaintiff must file this cover sheet with the first paper filed in the action or proceedtnsr (except small claims cases or cases filed
              under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal, Rules of Court, rule 3.220.) Failure to file may result
                 in sanctions
            • File this cover sheet in addition to any cover sheet required by local court ruie.
            • if this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
                 other parties to tie action or proceeding.
            • Unless this is a collections case under ruie 3.740 or a complex case, this cover sheet will be used for statistical purposes onjjn                                                     -                   -
                                                                                                                                                     BBS

                                                                                                                                                                                Cat Rum of Conn, rules 2. 30, 3.220, 3 400-3.403, 3., 740,
          form Adopted for Mandatory Use                                                   CIVIL CASE COVER SHEET                                                                     Cal Standards                                   310
            Judicial CouftcH of                                                                                                                                                                                                      ..gov
               CM-010 jftev. July 1.20071
    Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 31 of 57 Page ID #:46


                                                                                                                                                   CM-01Q
                                                INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
       To Plaintiffs and Others Filing First Papers,          if you are filing a first paper (for example, a complaint) in a civil case, you must
       complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1 . This information will be used to compile
       statistics about the types and numbers of cases filed. You must complete items t through 6 on the sheet, in item 1 , you must check
       one box for the case type that best describes the case. If the case fits both a genera! and a more specific type of case listed in item 1,
       check the more specific one If the case has multiple causes of action, check the box that best indicates the primary cause of action.
       To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
       sheet must be fifed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
       its counsel, or both to sanctions under rules 2,30 and 3.220 of the California Rules of Court.
      To Parties In Rule 3.740 Collections Cases.           A "collections case" under rule 3.740 is defined as an action for recovery of money
      owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
      which property, services, or money was acquired on credit, A collections case does not include an action seeking the following: (1) tort
      damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
      attachment. The identification of a case as a rule 3.740 collections case on this form means that it wiii be exempt from the general
      time-for-service requirements and case management rules, unless a defendant flies a responsive pleading. A rule 3.740 collections
      case will be subject to the requirements for service and obtaining a Judgment in rule 3.740.
      To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
      case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
      completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
      complaint on ail parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
      plaintiffs designation, a counter-designation that the case is not complex, or, If the plaintiff has made no designation, a designation that
      the case is complex.
                                                                 CASE TYPES AND EXAMPLES
      Auto Tort                                         Contract                                          Provisionally Complex Civil Litigation (Cat.
          Auto (22)-Personal injury/Property               Breach of Contract/Warranty (06)               Rules of Court Rules 3.400-3.403)
               Damage/Wrongful Death                           Breach of Rental/Lease                          Antitrust/Tfade Regulation (03)
          Uninsured Motorist (46) (if the                          Contract (not unlawful detainer             Construction Defect (to)
              ease involves an uninsured                              or wrongful eviction)                    Claims Involving Mass Tort (40)
                                                                 Contract/Warranty Breach-Seller               Securities litigation (28)
              motorist claim subject to
              arbitration, check this item                          Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
              instead of At/to)                                  Negligent Breach of Contract/                 Insurance Coverage Claims
t
      Other PI/PD/WD (Personal Injury/                             Warranty                                        (arising from provisionally comple x
      Property Damage/Wrongful Death)                           Other Breach of Contract/Warranty                  case type listed above) (41)
      Tort                                                  Collections (e.g„ money owed, open             Enforcement of Judgment
           Asbestos (04)                                        book accounts) (09)                            Enforcement of Judgment (20)
              Asbestos Property Damage                          Collection Case-Seller Plaintiff                   Abstract of Judgment (Out of
                                                                Other Promissory Note/Coitections                       County)
              Asbestos Personal Injury/
                   Wrongful Death                                                                                  Confession of Judgment (non-
                                                            insurance Coverage (not provisionally                      domeslic relations)
          Product: Liability (not asbestos or
                                                                complex) ( 18)                                     Sister Slate Judgment
             toxic/environmental) (24)
          Medical Malpractice (45)                              Auto Subrogation                                   Administrative Agency Award
             Medical Malpractice-                               Other Coverage                                        (not unpaid taxes)
                  Physicians & Surgeons                     Other Contract (32)                                    Petition/Certification of Entry of
                                                               Contractual Fraud                                     Judgment on Unpaid Taxes
            Other Professional Heallh Care
                  Malpractice                                 Other Contract Dispute                               Other Enforcement of Judgment
                                                                                                                       Case
         Other PI/PD/WD (23)                           Real Property
                                                          Eminent Domain/Inverse                          Miscellaneous Civil Complaint
            Premises Liability (e.g., slip
                                                              Condemnation (14)                              RiCO (22)
                  and fall)
                                                           Wrongful Eviction (33)                            Other Complaint (not specified
            intentional Bodily Injury/PD/WO
                                                                                                                  above) (42)
                  (eg., assault, vandalism)                Other Real Property (e.g., quiet title) (26)
                                                                                                                  Declaratory Relief Only
            Intentional Infliction of                         Writ of Possession of Real Property                 Injunctive Relief Only (non-
                  Emotional Distress                           Mortgage Foreclosure
                                                                                                                      harassment)
            Negligent Infliction of                           Quiet Titie
                                                                                                                  Mechanics Lien
                  Emotional Distress                          Other Real Property (not eminent
                                                                                                                 Other Commercial Complaint
            Olher F1/P0/WD                                    domain, landlord/tenant, or
                                                                                                                      Case (non-iort/non-complex)
     Non-Pf/PD/WD (Other) Tort                                foreclosure)
                                                                                                                 Other Civil Complaint
         Business Tort/Unfair Business                 Unlawful Detainer
                                                                                                                      (non-tort/non-complex)
            Practice (02)                                 Commercial (31 )
                                                                                                          Miscellaneous Civil Petition
         Civil Rights (e.g., discrimination,               Residential (3?)                                  Partnership and Corporate
             false arrest) (not civil                      Drugs (38) (if the case Involves illegal               Governance (21)
             harassment) (08)                                  drugs, check this item; otherwise,            Olher Petition (not specified
         Defamation (e.g. , slander, libel)                    report as Commercial or Residential)               above) (43)
               (13)                                    Judicial Review                                            Civil Harassment
         Fraud (18)                                        Asset Forfeiture (05)                                  Workplace Violence
         intellectual Property (19)                        Petition Re: Arbitration Award (11)                    Elder/Dependent Adult
         Professional Negligence (25)                      Writ of Mandate (02)                                        Abuse
            Legal Malpractice                                  Wnt-Administrative Mandamus
                                                                                                                  Election Contest
            Other Professional Malpractice                     Wril-Mandarmis on Limited Court
                                                                                                                  Petition for Name Change
               (not medical or legal)                             Case Matter                                     Petition for Relief From Late
        Other Non-Pl/PD/WD Tort (35)                           Writ-Other Limited Court Case                           Claim
     Employment                                                    Review                                         Other Civil Petition
        Wrongful Termination (36)                          Other judicial Review (39)
        Other Employment {15}                                 Review of Health Officer Order
                                                              Notice of Appeal-Labor
                                                                  Commissioner Appeals
                                                                                                                                                  vtetioii
    CUO10|R»» XJy 1.2007]
                                                          CIVIL CASE COVER SHEET
                                                                                                                                                             l
    Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 32 of 57 Page ID #:47


       SHORT TITLE:                                                                                              CASE NUMBER                                             I
                   JASON ARNOLD v. PELLA CORPORATION



                                                   CIVIL CASE COVER SHEET ADDENDUM AND
                                           STATEMENT OF LOCATION
                      (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

                      This form is required pursuant to Local Rule 2.3 in alt new civil case filings In the Los Angeles Superior Court




          Step 1 : After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
I                        Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.



          Step 2; In Column B, check the box for the type of action that best describes the nature of the case.


          Step 3; In Column C, circle the number which explains the reason for the court filing location you have
                         chosen.

                                               Applicable Reasons for Choosing Court filing location (Column C)

    1 , Class actions must be filed in the Stanley Mask Courthouse, Central District.            7. Location where petitioner resides.

    2 Permissive filing in central district.                                                  S. Location wherein defendant/respondent functions wholly.

    3. Location where cause of action arose.                                                  9. Location where one or more of the parties reside.

    4. Mandatory personal injury filing in North District.                                   1 0, Location of Labor Commissioner Office.

                                                                                             11. Mandatory filing location (Hub Cases - unlawful detainer, limited
    5. Location where performance required or defendant resides.                             non-collection, limited collection, or persona! injury).

    6. Location of property or permanently garaged vehicle.




                                    A                                                                 B                                                      c
                         CMi CaseCovef Sheel                                                 Type of Action                                       Applicable Reasons •
                             Category No.                                                   (Check only one)                                       See Step 3 Above


                                Auto (22)                    A710O Motor Vehicle - Personal Injury/Property Damage/Wrongful Death                 1,4, 11


       is                Uninsured Motorist (46)       D     A7 1 1 0 Personal injury/Property OamageAVrongfuf Death - Uninsured Motorist         1.4, 11



                                                       D     A6070 Asbestos Property Damage                                                       1.11
                             Asbestos (04)
                                                             A7221 Asbestos - Personal Injury/Wrongful Death                                      1, 11


                          Product Liability (24)       D     A7260 Product Liability (not asbestos or toxic/environmental)                        i, 4, 11

           i                                           Q     A7210 Medical Malpractice -Physicians & Surgeons
                                                                                                                                                  1,4, 11

                        Medical Malpractice (46)
          #                                            O     A7240 Other Professional Health Care Malpractice
                                                                                                                                                  1, 4, 11


          I                                                  A7250 Premises Liability (e.g., slip and fail)                                      1.4, 11
                            Other Personal



      it
                                                       O     A7230 Intentional Bodily Injury/Property DamageA/Vrongfu! Death (e.g.,              1.4. 11
                            Injury Property
                                                                     assault, vandalism, etc.)
                           Damage Wrongful
                                                                                                                                                 1.4. 11
                              Death (23)                     A7270 Intentional infliction of Emotional Distress
                                                                                                                                                 1,4, 11
                                                       P     A7220 Other Personal Injury/Property Damage/Wrongful Death




     LACiV 109 (Rev 2/16)                            CIVIL CASE COVER SHEET ADDENDUM                                                          Local Rule 2.3

     LASC Approved 03-04                                AND STATEMENT OF LOCATION                                                                Page 1 of 4
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                                                                                                       CASE NUMBER
 SHORT TITLE:
                JASON ARNOLD v. PELLA CORPORATION


                              A                                                             8                                                 C Applicable
                                                                                      Type of Action                                   Reasons - See Step 3
                    CMi-Case Cover Sheet
                                                                                     tCtwck only one)                                             Above
                        Category No.


                                                 O   A6029 Other Commercial/Business Tort (not fraud/breach of contract)                1,2,3
                      Business Tort (07)


                                                     A6005 Civil Rights/Discrimination                                                  1,2,3
        I—
                       Civtt Rights (08)



        i              Defamation (13)               A6010 Defamation (slander/libel)                                                  1.2,3



                                                     A6013 Fraud {no contract)                                                         1,2,3
                          Fraud (16)


                                                     A6017 Legal Malpractice                                                           1. 2, 3
                 Professional Negligence (25)


   iI
                                                     A6050 Other Professional Malpractice (not medical or legal)                       1,2, 3

        a
                          Other (35)             D   A6025 Other Non-Personal Injury/Property Damage tort                              1,2,3



                  Wrongful Termination (36)      Q   A6G37 Wrongful Termination                                                        1,2,3


                                                                                                                                       1,2,3
                                                G A6024 Other Employment Complaint Case
                   Other Employment (15)
                                                     A6109 Labor Commissioner Appeals                                                  10



                                                     A6004 Breach of Rental/Lease Contract (not unlawful detainer or wronglul          2.5
                                                           eviction)
                 Breach of Contract/ Warranty                                                                                          2,5
                                                 O   A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                             (06)
                                                                                                                                       1,2,5
                       (not Insurance)           Q   A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                       1,2,5
                                                     A6028 Other Breach of Contract/Warranty (not fraud or negligence)


                                                 O   A60G2 Collections Case-Seller Plaintiff                                           5,6, 11
                       Collections (09)
                                                 O   A6012 Other Promissory Note/Collections Case                                      5,11

                                                     A6034 Collections Case-Purchased Deb! (Charged Off Consumer Debt                  5, 6, 11
                                                             Purchased on or after January 1, 2014)

                  Insurance Coverage (18)            A6015 Insurance Coverage (not complex)                                            1,2, 5,8


                                                     A6009 Contractual Fraud                                                           1,2,3, 5

                     Other Contract (3?)             A6031   Tortious Interference                                                     1, 2, 3, 5

                                                U    A6027 Other Contract Oispute(not breaeh/lnsurance/fraud/negligertce)              1,2, 3,8,9


                  Eminent Domain/Inverse                                                                Number of parcels.             2,6
                                                O    A7300   Eminent Domain/Condemnation
                    Condemnation (14)


                                                O    A602.3 Wrongful Eviction Case                                                     2,6
                   Wrongful Eviction (33)

    1                                           Q    A6018 Mortgage Foreclosure                                                        2,6

    1             Other Real Property (26)      O    A6C32 Quiet Title                                                                 2,6


                                                     A6060 Other Real Property (not eminent domain, landlordrtenant. foreclosure)      2,6
                                                O

                Unlawful Detainer-Commercial    D    A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)              6,11
                            (31)

                Unlawful Detainer-Residential        A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             6, 11
                            m
                    Unlawful Delainet-                                                                                                2,6, 11
                                                     A6Q20F Unlawful Detainer-Post-Foreciosure
                   Post-Foreclosure (34)
                                                                                                                                      2,6, 1t
                Unlawful Detainer-Drugs (38)    D    A6022 Unlawful Detainer-Drugs



                                                                                                                                    Local Rule 2,3
 LACIV 109 (Rev 2/16)                           CIVIL CASE COVER SHEET ADDENDUM
                                                                                                                                      Page 2 of 4
 LASC Approved 03-04                               AND STATEMENT OF LOCATION

                                                                                                                                                              I
Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 34 of 57 Page ID #:49



 SHORT 1 fTi£:                                                                                             CASE NUMBJsK

                 JASON ARNOLD v. FELLA CORPORATION


                                A                                                               6                                      C Applicable
                     Civil Case Cover Sheet                                               Type of Action                        Reasons - See step 3
                           Category No.                                                  (Check only one)                             Above


                      Asset Forfeiture (05)         O    A6108 Asset Forfeiture Case                                            2, 3,6


                   Petition re Arbitration (11)     Q    A6115 Petition to Compel/Confirm/Vacate Arbitration                    2.5



                                                    D    A6151 Writ - Administrative Mandamus                                   2, 8

                      Writ of Mandate (02)          Q    AS 152 Writ -Mandamus on United Court Case Matter                      2

                                                    U    A6153 Writ - Other Limited Court Case Review                           2


                   Other Judicial Review (39)       D    AS 150 Other Writ /Judicial Review                                     2,8


                 Anittrusi/Trade Regulation (03)    O    A6003 Antitrust/Trade Regulation                                       1.2,8


                    Construction Defect (10)        O   A6O07 Construction Defect                                               1,2,3


                   Claims Involving Mass Tori                                                                                   1.2,8
                                                        A6006 Claims Involving Mass Tort


     i
                              (40)


                    Securities Litigation (28)      D   A6035 Securities Litigation Case                                      1,2,8
     o


                          Toxic Tort                                                                                         1, 2, 3, 8
                                                        A6036 Toxic Tort/Environmental
                      Environmental (30)



                  '"torn to^exCase'jIl)'5 ° A6°14 lnsurance Ooxerage/Suhrogaton (complex case oniy)
                                                                                                                             1,2, 5,8



                                                        A6 1 4 1 Sister State Judgment                                       2, 5,11

                                                        A6160 Abstract of Judgment                                           2,6



       I                                           D    A6 1 07 Confession of Judgment (non-domestic relations)              2,9
                         Enforcement
                       of Judgment (20)                 A6140 Administrative Agency Award (not unpaid taxes)                 2,8
         =
                                                   D    A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax       2,8
       "S
                                                   D    A6112 Other Enforcement of Judgment Cass                             2,8,9



                           RICO (27)                    A6033 Racketeering (RICO) Case                                       1,2,8


                                                   O    A8030 Declaratory Relief Only                                        1,2,8

                                                   D    A6040 Injunctive Relief Oniy (not domestic/harassment)               2,8
                       Olher Complaints
      o           (Not Specified Above) (42)       D    A601 1 Other Commercial Complaint Case (non-tort/non-complex)        1,2,8
      I                                                                                                                      1,2,8
      a                                            D    A6O0Q Other Civil Complaint (non-tort/non-compfex)


                   Partnership Corporation                                                                                   2,8
                                                   D    A6113 Partnership and Corporate Governance Case
                      Governance (21)


                                                        A6121   Civil Harassment                                             2, 3,9

                                                   O    A6123 Workplace Harassment                                           2, 3,9

                                                   D    A6124 Elder/Dependent Adult Abuse Case                              2,3,9
                     Other Petitions (Not
                    Specified Above) (43)          Q    A6190 Election Contest                                              2

      O                                            D    A6110 Petition for Change of Name/Change of Gender                  2,7

                                                   O    A61 70 Petition for Relief from Late Claim Law                      2, 3,8

                                                   O A6100 Olher Civil Petition                                             2,9




 LACIV 109 (Rev 2/16)                             CIVIL CASE COVER SHEET ADDENDUM                                         Local Rule 2,3

                                                     AND STATEMENT OF LOCATION                                              Page 3 of 4
 LASC Approved 03-04
Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 35 of 57 Page ID #:50


 SHORT TtTtE.                                                                             CASE NUMBER
                JASON ARNOLD v. PELLA CORPORATION



Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
            type of action that you have selected. Enter the address which is the basis for the filing location, including rip code.
            (No address required for class action cases}.

                                                                       ADDRESS:

   REASON:                                                             1104 E Colorado Blvd

       1 , 0 2,   3. n 4. 0 5. 0 6. < : 7. D B. r, 9. n 1 0. C 1 1 .




   city-                                      STATS.      IP CODE


   Pasadena                                   CA          91106



Step 5; Certification of Assignment: I certify that this case is properly filed in the Central                                       District of
            the Superior Court of California, County of Los Angeles (Code Civ. Proc, §392 et seq., and Local Rule 2.3(a)(1)(E)],




  Dated:
                                                                                    (SK     IRE OF ATTORNEY/FILING PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE PILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

       1.   Original Complaint or Petition.

      2.    If filing a Complaint, a completed Summons form for issuance by the Clerk,

      3.    Civil Case Cover Sheet, Judicial Council form CM-01Q.

      4.    Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev
            02/16).

      5.    Payment in full of the filing fee, unless there is court order far waiver, partial or scheduled payments.

      6     A signed order appointing the Guardian ad Litem, Judicial Council form CIV-01 0, if the plaintiff or petitioner is a
            minor under 18 years of age will be required by Court in order to issue a summons.

      7.    Additional copies of documents to be conformed by the Clerk. Copies of tie cover sheet and this addendum
            must be served along with the summons and complaint, or other initiating pleading in the case.




 LACiV IDS (Rev 2/16)                      CIVIL CASE COVER SHEET ADDENDUM                                              Local Rule 2.3

 LASC Approved 03-04                          AND STATEMENT OF LOCATION                                                     Page 4 of 4
 Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 36 of 57 Page ID #:51

                                                                                                Reserved for Clerk's File Stamp

                 SUPERIOR COURT OF CALIFORNIA
                          COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:                                                                                     FILED
 Stanley Mosk Courthouse                                                                       Si^eriar Court of California
                                                                                                 County af Los Angeles
 1 1 1 North Hill Street, Los Angeles, CA 90012
                                                                                                     03/10/2021
                                                                                       Sham R Catiar, Exaoiivs OSoar i GeSi of Ca uh
                  NOTICE OF CASE ASSIGNMENT
                                                                                        &y:
                                                                                                          M. Barel                 Deputy
                          UNLIMITED CIVIL CASE


                                                                                CASE NUMBER:


  Your case is assigned for all purposes to the judicial officer indicated below. 21 STCV09481


                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

               ASSIGNED JUDGE               DEPT      ROOM                  ASSIGNED JUDGE                       DEPT             ROOM


   /     Barbara A. Meiers                  12




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court

                                                                         By M. Barel                                              , Deputy Clerk
    on 03/11/2021
                 (Date)

LACIV190 (Rev 6/18)         NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
  Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 37 of 57 Page ID #:52


                                   Instructions for handling unlimited civil cases


The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed.          Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
 Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*ProvisionaHv Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)         NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 38 of 57 Page ID #:53


                                                                                                        2019-GEN-OI4-00


                                                                                           FILED
                                                                                    Superior Court of California
   1                                                                                  County of Los Angeles


   2                                                                                      MAY 03 2019
                                                                             Shtrrl1 RXartar, Erautive Offlcer/CUrk
   3
                                                                              87.                       —»Dtpoty
   4
                                                                                      £%izallada Mini

   5
                               SUPERIOR COURT OF THE STATE OF CALIFORNIA
   6
                                      FOR THE COUNTY OF LOS ANGELES
   7

   8   IN RE LOS ANGELES SUPERIOR COURT )                  FIRST AMENDED GENERAL ORDER
   „   - MANDATORY ELECTRONIC FILING                   )
   9   FOR CIVIL                                       )
                                                       )
  10
                                                       )
  11

  12           On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all

  13   documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los

  14   Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex

  15   Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.233(b).)

  16   All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the

  17   following:

  18   1) DEFINITIONS

  19      a)   "Bookmark"      A bookmark is a PDF document navigational tool that allows the reader to

  20           quickly locate and navigate to a designated point of interest within a document.

  21      b) "Eflling Portal" The official court website includes a webpage, referred to as the efiling

  22           portal, that gives litigants access to the approved Electronic Filing Service Providers.

  23      c) "Electronic Envelope" A transaction through the electronic service provider for submission

  24           of documents to the Court for processing which may contain one or more PDF documents

  25           attached.

  26      d) "Electronic Filing" Electronic Filing (eFiling) is the electronic transmission to a Court of a

  27           document in electronic form. (California Rules of Court, rule 2.250(b)(7).)

  28

                                                               1
                           FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 39 of 57 Page ID #:54


                                                                                                   2019-GEN-014-00




   1     e)   "Electronic Filing Service Provider"      An Electronic Filing Service Provider (EFSP) is a

   2          person or entity that receives an electronic filing from a party for retransmission to the Court.

   3          In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an

   4          agent of the Court. (California Rules of Court, rule 2.250(b)(8).)

   5     f)   "Electronic Signature"      For purposes of these local rules and in conformity with Code of

   6          Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision

   7          (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule

   8          2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or

   9          process attached to or logically associated with an electronic record and executed or adopted

  10          by a person with the intent to sign the electronic record.

  11     g) "Hyperlink"        An electronic link providing direct access from one distinctively marked place

  12          in a hypertext or hypermedia document to another in the same or different document.

  13     h) "Portable Document Format" A digital document format that preserves all fonts,

  14          formatting, colors and graphics of the original source document, regardless of the application

  15          platform used.

  16   2) MANDATORY ELECTRONIC FILING

  17     a) Trial Court Records

  18          Pursuant to Government Code section 68150, trial court records may be created, maintained,

  19          and preserved in electronic format. Any document that the Court receives electronically must

 20           be clerically processed and must satisfy all legal filing requirements in order to be filed as an

 21           official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).

 22      b) Represented Litigants

 23           Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to

 24           electronically file documents with the Court through an approved EFSP.

 25      c)   Public Notice

  26          The Court has issued a Public Notice with effective dates the Court required parties to

  27          electronically file documents through one or more approved EFSPs. Public Notices containing

  28          effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.org.

                                                         2
                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 40 of 57 Page ID #:55


                                                                                                      2019-GEN-014-00




   1        d) Documents in Related Cases

   2             Documents in related cases must be electronically filed in the eFtling portal for that case type if

   3             electronic filing has been implemented in that case type, regardless of whether the case has

   4             been related to a Civil case.

   5   3) EXEMPT LITIGANTS

   6        a)   Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt

   7             from mandatory electronic filing requirements.

   8        b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of

   9             Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused

  10             from filing documents electronically and be permitted to file documents by conventional

  11             means if the party shows undue hardship or significant prejudice.

  12   4) EXEMPT FILINGS

  13        a) The following documents shall not be filed electronically:

  14             i)     Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of

  15                    Civil Procedure sections 170.6 or 170.3;

  16             ii)    Bonds/Undertaking documents;

  17             iii)   Trial and Evidentiary Hearing Exhibits

  18             iv)    Any ex parte application that is filed concurrently with a new complaint including those

  19                    that will be handled by a Writs and Receivers department in the Mosk courthouse; and

 20              v)     Documents submitted conditionally under seal. The actual motion or application shall be

 21                     electronically filed. A courtesy copy of the electronically filed motion or application to

 22                     submit documents conditionally under seal must be provided with the documents

 23                     submitted conditionally under seal.

 24         b) Lodgments

 25              Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in

 26    paper form. The actual document entitled, "Notice of Lodgment," shall be filed electronically.

 27    //

 28    //

                                                                   2
                            FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 41 of 57 Page ID #:56


                                                                                                  2019-GEN-OI4-OO




   1   5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES

   2     Electronic filing service providers must obtain and manage registration information for persons

   3     and entities electronically filing with the court.

   4   6) TECHNICAL REQUIREMENTS

   5     a) Electronic documents must be electronically filed in PDF, text searchable format when

   6          technologically feasible without impairment of the document's image.

   7     b) The table of contents for any filing must be bookmarked.

   8     c)   Electronic documents, including but not limited to, declarations, proofs of service, and

   9          exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule

  10          3. 1 1 10(f)(4). Electronic bookmarks must include links to the first page of each bookmarked

  II          item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the

  12          bookedmarked item and briefly describe the item.

  13     d) Attachments to primary documents must be bookmarked. Examples include, but are not

  14          limited to, the following:

  15          i)     Depositions;

  16          ii)    Declarations;

  17          iii)   Exhibits (including exhibits to declarations);

  18          iv)    Transcripts (including excerpts within transcripts);

  19          v)     Points and Authorities;

 20           vi)    Citations; and

 21           vii)   Supporting Briefs.

 22      e)   Use of hyperlinks within documents (including attachments and exhibits) is strongly

 23           encouraged.

 24      f)   Accompanying Documents

 25           Each document acompanying a single pleading must be electronically filed as a separate

 26           digital PDF document.

 27      g) Multiple Documents

 28           Multiple documents relating to one case can be uploaded in one envelope transaction.

                                                               A
                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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   1     h) Writs and Abstracts

   2          Writs and Abstracts must be submitted as a separate electronic envelope.

   3     i)   Sealed Documents

   4          If and when a judicial officer orders documents to be filed under seal, those documents must be

   5          filed electronically (unless exempted under paragraph 4); the burden of accurately designating

   6          the documents as sealed at the time of electronic submission is the submitting party's

   7          responsibility,

   8     j)   Redaction

   9          Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to

  10          redact confidential information (such as using initials for names of minors, using the last four

  11          digits of a social security number, and using the year for date of birth) so that the information

  12          shall not be publicly displayed.

  13   7) ELECTRONIC FILING SCHEDULE

  14     a)   Filed Date

  15          i)   Any document received electronically by the court between 12:00 am and 1 1 :59:59 pm

  16               shall be deemed to have been effectively filed on that court day if accepted for filing. Any

  17               document received electronically on a non-court day, is deemed to have been effectively

  18               filed on the next court day if accepted.   (California Rules of Court, rule 2.253(b)(6); Code

  19               Civ. Proc. § 1010.6(b)(3).)

  20          ii) Notwithstanding any other provision of this order, if a digital document is not filed in due

  21               course because of: (1) an interruption in service; (2) a transmission error that is not the

  22               fault of the transmitter, or (3) a processing failure that occurs after receipt, the Court may

  23               order, either on its own motion or by noticed motion submitted with a declaration for Court

  24               consideration, that the document be deemed filed and/or that the document's filing date

  25               conform to the attempted transmission date.

  26   8) EX PARTE APPLICATIONS

  27     a) Ex parte applications and all documents in support thereof must be electronically filed no later

  28          than 10:00 a.m. the court day before the ex parte hearing.

                                                                i
                          FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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                                                                                                     2019-GEN-014-00




   1         b) Any written opposition to an ex parte application must be electronically Gled by 8:30 a.m. the

   2                day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte

   3                application must be provided to the court the day of the ex parte hearing.

   4   9) PRINTED COURTESY COPIES

   5         a)     For any filing electronically Gled two or fewer days before the hearing, a courtesy copy must

   6                be delivered to the courtroom by 4:30 p.ra. the same business day the document is efiled. If

   7                the eGling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom

   8               by 10:00 a.m. the next business day.

   9         b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of

  10               electronic submission) is required for the following documents:

  11                i)   Any printed document required pursuant to a Standing or General Order;

  12               ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26

  13                     pages or more;


  14              iii)   Pleadings and motions that include points and authorities;

  15              iv)    Demurrers;

  16               v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;

  17              vi)    Motions for Summary Judgment/Adjudication; and

  18              vii)   Motions to Compel Further Discovery.

  19         c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of

  20               additional documents. Courtroom specific courtesy copy guidelines can be found at

  21               www.lacourt.org on the Civil webpage under "Courtroom Information."

  22   10) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS

  23         a)    Fees and costs associated with electronic Gling must be waived for any litigant who has

  24               received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc. §

  25     .          1010.6(d)(2).)

  26         b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure

  27               section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(f), may be

  28               electronically Gled in any authorized action or proceeding.


                              FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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                                                                                                  2019-GEN-OI4-00




   1   1 1) SIGNATURES ON ELECTRONIC FILING

   2      For purposes of this General Order, all electronic filings must be in compliance with California

   3      Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil

   4      Division of the Los Angeles County Superior Court.

   5

   6          This First Amended General Order supersedes any previous order related to electronic filing,

   7   and is effective immediately, and is to remain in effect until otherwise ordered by the Civil

   8   Supervising Judge and/or Presiding Judge.

   9

  10   DATED: May 3, 2019          fa
                                                            KEVIN C. BRAZILE
  11

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                                   iIBIWITitTifflBlf?
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                                                            Presiding Judge

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                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 45 of 57 Page ID #:60




                                      VOLUNTARY EFFICIENT LITIGATION STIPULATIONS



           i                    >S)
                                         The Early Organizational Meeting Stipulation, Discovery
                                      Resolution Stipulation, and Motions in Limine Stipulation are
         Superior Court of CsHfomls
         County of Los Angalea
                                      voluntary stipulations entered into by die parties. The parties
                                      may enter into one, two, or all three of the stipulations;

                                      however, they may not alter the stipulations as written,
                                      because the Court wants to ensure uniformity of application.
         Lo* Angel*i County
         Bar Association              These stipulations are meant to encourage cooperation
         Litigation Section

         Lea Angslas County
                                      between the parties and lo assist in resolving Issues in a
         Sar As* aclallan Labor and
         Employment Law Section       manner that promotes economic case resolution and judicial

                                      efficiency.
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                                          The    following   organizations        endorse   the   goaI   of
         Consumer Attorney*
         Association or Los Angstas
                                      promoting      efficiency In   litigation   and ask   that counsel

                                      consider using thesB stipulations as a voluntary way to

                                      promote communications and procedures among counsel

                                      and with the court to fatly resolve issues in their cases.


                                      Los Angeles County Bar Association litigation Section*
        Southern California
        Defense Counsel

                                                     Los Angeles County Bar Association

                                                    Labor and Employment Law Section*
            3B8C
        Association ef
        Business Trial Lawyers
                                          Consumer Attorneys Association of Los Angeles*



                                                Southern California Defense Counsel*

               lilji
                                                Association of Business Trial Lawyers*

        Ceiifonila Employment
        Lawyer* Association
                                           California Employment Lawyers Association*


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Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 46 of 57 Page ID #:61




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       SUPERIOR COURT OF CALIFORNIA. COUNTY OF LOS ANGELES
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       PLAINTIFF;


       OSFENOArfTf


                                                                                                 TSSStHSSSSC
                             STIPULATION - DISCOVERY RESOLUTION


            This stipulation Is intended to provide a fast and informal resolution of discovery issues
            through limited paperwork and an informal conference with the Court to aid In the
            resolution of the issues.

            The parties agree that:

            1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
               the moving party first makes a written request for an Informal Discovery Conference pursuant
                    to the terms or (his stipulation.

            2. At the informal Discovery Conference the Court will consider Ihe dispute presented by parties
               and determine whether it can be resolved Informally. Nothing set forth herein will preclude a
                    party from making a record at the conclusion of an Informal Discovery Conference, either
                    orally or In writing.

           3.       Following a reasonable and good faith attempt at an informal resolution of each issue to be
                presented, a party may request an Informal Discovery Conference pursuant to the following
                procedures:

                       a.         The party requesting the Informal Discovery Conference wilt:

                             i.      FBa a Request for Informal Discovery Conference with the clerk's office on the
                                     approved form (copy attached) and deliver a courtesy, conformed copy to the
                                     assigned department,

                            II.      Include a brief summary of the dispute and specify the relief requested; and

                        HI.          Serve (he opposing party pursuant to any authorized or agreed method of service
                                     that ensures that the opposing party receives the Request for Informal Discovery
                                     Conference no later than the next court day following the filing.

                       b.         Any Answer to a Request far Informal Discovery Conference must:

                             i.      Also be fifed on the approved form (copy attached);

                            II.      Include a brief summary of why the requested relief should be denied;
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           LASC Approved 04/11                 STIPULATION - DISCOVERY RESOLUTION
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Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 47 of 57 Page ID #:62




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                      19.   Be filed within two (2) court days of receipt of the Request: and

                      Iv.   Be served on the opposing party pursuant to any authorized or agreed upon
                            method of service that ensures that the opposing party receives the Answer no
                            later than the next court day following the filing.

              c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
                     be accepted.

              d.     If the Court has not granted or denied (he Request for Informal Discovery Conference
                     within ten (10) days following the fifing of the Request, then it shall be deemed to have
                     been denied. If the Court acts on the Request, the parties will be notified whether the
                     Request for Informal Discovery Conference has been granted or dented and, if granted,
                     the date and time of the Informal Discovery Conference, which must be within twenty (20)
                     days of the filing of the Request for Informal Discovery Conference.

              e.     If the conference is not held within twenty (20) days of the filing of the Request for
                     Informal Discovery Conference, unless extended by agreement of the parties and the
                     Court, then the Request for the Informal Discovery Conference shall be deemed to have
                     been denied at that time.

         4.   If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
              without the Court having acted or (c) the Informal Discovery Conference is concluded without
              resolving the dispute, then a party may file a discovery motion to address unresolved issues.

         5. The parties hereby further agree that the time for making a motion to compel or other
              discovery motion is tolled from the date of filing of the Request for Informal Discovery
              Conference until (a) the request Is denied or deemed denied or (b) twenty (20) days after the
              filing of the Request for Informal Discovery Conference, whichever Is earlier, unless extended
              by Order of the Court.

              It is the understanding and Intent of the parties that this stipulation shall, for each discovery
              dispute lo which it applies, constitute a writing memorializing a "specific later dale to which
              (he propounding (or demanding or requesting] party and the responding party have agreed in
              writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
              2033.290(c).

         €. Nothing herein will preclude any party from applying bx parts for appropriate relief. Including
            an order shortening time for a motion to be heard concerning discovery.

         7. Any party may terminate this stipulation by giving twenty-one (21) days notice of Intent to
              terminate the stipulation.

         8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
            any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, (hen (he lime
            for performing thai act shall be extended to the next Court day.




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Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 48 of 57 Page ID #:63




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         VtOAT lPi£,




         The following parties stipulate:

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                           [TYPE OK PRINT NAME)                               (ATTORNEY FOR KAIN1IFF)

         Date:

                           (TYPE OR PRINT NAME!                              (ATTORNEY FOR 06FEN0ANTI

         Date:
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                           (type on priiwr HAxtif                            TaStTBSnEY FOR DEFENDANT)
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          ATTORNEY FOR mart:

       SUPERIOR COURT OF CALIFORNIA. COUNTY OF LOS ANGELES
       COUimk)lJ44 ADDRESS:

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       OEFENOANT:




                STIPULATION - EARLY ORGANIZATIONAL MEETING


            This stipulation Is intended to encourage cooperation among the parties at an early stage in
            the litigation and to assist the parties In efficient case resolution.

            The parties agree that:

            1. The parties commit to conduct an initial conference (in-person or via teleconference or via
               videoconference) within 15 days from the dale this stipulation ts signed, to discuss and consider
               whether there can be agreement on the Mowing-.

                   a.   Are motions to challenge the pleadings necessary?          If the issue can    be resolved by
                        amendment bs of right, or if the Court would allow leave to amend, could an amended
                        complaint resolve most or all of the Issues a demurrer might otherwise raise? if so, the parties
                        agree to work through pleading issues so that a demurrer need only raise issues they cannot
                        resolve. Is the Issue that the defendant seeks to raise amenable to resolution on demurrer, or
                        would some other type of motion be preferable? Could a voluntary targeted exchange of
                        documents or Information by any party cure an uncertainty In the pleadings?

                   b.   Initial mutual exchanges of documents at the 'core* of the litigation. (For example, In an
                        employment case, the employment records, personnel file and documents relating to the
                        conduct In question could be considered "core." In a personal Injury case, an Incident or
                        police report, medical records, and repair or maintenance records could be considered
                        "core.*);

                c.      Exchange of names and contact information of witnesses;

                d. Any Insurance agreement that may be available to satisfy part or all of a judgment, or to
                        indemnify or reimburse for payments made to satisfy a judgment;

                e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                   or resolution of the case In a manner that preserves objections or privileges by agreement;

                f.      Controlling Issues of law thai, if resolved early, will promote efficiency and economy In other
                        phases of the case. Also, when and how such Issues can be presented to the Court;

                g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                        court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                        and whether the parties wish to use a sitting judge or a private mediator or other options as
          ________




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Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 50 of 57 Page ID #:65




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                     discussed in the "Alternative Dispute Resolution (ADR) Information Package* served with the
                     complaint;

              h.     Computation of damages, including documents, not privileged or protected from disclosure, on
                     which such computation is based;

              I.     Whether the case is suitable for the Expedited Jury Trial procedures (see information at
                     wwwJacourLoni under "CMT and then under "Genera/ Information*).

         2.          The time for a defending party to respond to a complaint or cross-complaint wiB be extended
                     to                            for (he complaint, and                               for the cross-
                                (MSERT DATE)                                      (INSERT tMTE)
                     complaint, which is comprised of the 30 days to respond under Government Code § 66816(b),
                     and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
                     been found by the Civil Supervising Judge due to the case management benefits provided by
                     this Stipulation. A copy of the General Order cen be found at www.facourf.oro under "CMT,
                     click on "General Information", then dick on * Voluntary Efficient Lttlgatton Stipulations*.

         3.          The parties will prepare a joint report titled 'Joint Status Report Pursuant to Initial Conference
                     and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
                     results of their meet and confer and advising the Court of any way it may assist Ihe parties'
                     efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
                     the Case Management Conference statement, and file the documents when the CMC
                     statement is due.

         4.          References to 'days* mean calendar days, unless otherwise noted. If the date for performing
                     any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then Ihe time
                     for performing that act shall be extended to the next Court day

         The following parties stipulate:

         Date:
                                                                       v
                          (TYPE OR PRINT NAME)                                     (ATTORNEY FOR PLAINTIFF)
         Date:
                                                                       >

                          (TYPE OR PRINT NAME)                                    (ATTORNEY FOR DEFENDANT)
         Dale:
                                                                       >

                          (TYPE OR PRINT NAME)                                    (ATTORNEY FOR DEFENDANT)
         Dale:
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         Oale:
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                                    STIPULATION - EARLY ORGANIZATIONAL MEETING                                Pagele(2
Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 51 of 57 Page ID #:66




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       OERENOANT.


                                                                                                        CASXNUUSCjr
                            INFORMAL DISCOVERY CONFERENCE
                     (pursuant lo tha Discovery Resolution Stipulation o( Iho parties)

            1.     This document relates lo:
                                  Request for Informal Discovery Conference
                       B          Answer to Request for Informal Discovery Conference
            2.     Deadline for Court to decide on Request:                                  (Insert data to calendar days (allowing fiflng ol
                   tha Request)

            3.     Deadline for Court to hold Informal Discovery Conference:                                         (Insert data 20 cafondar
                   da/I Mowing (31ng or the RoquflU).

            4.     For a Request for Informal Discovery Conference, briefly describe the nature of the
                   discovery dispute, Including the facts and legal arguments at issue. For an Answer to
                   Request for Informal Discovery Conference, briefly describe why the Court should deny
                   the requested discovery, including the facts and legal arguments at Issue.




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           LASC Approved 04/1 1
                                                 INFORMAL DISCOVERY CONFERENCE
           For Optional Use               {pursuant lo (he Discovery Resolution Stipulation of the parties)
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          ATT0HN6T FOA (Njra»l:

       SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
       COURTHOUSE AOORESi:

       PLAINTIFF:



       CEFENOANT;


                                                                                     toiE NUMBER
                    STIPULATION AND ORDER - MOTIONS IN LIMINE



            This stipulation Is Intended to provide fast and informal resolution of evidentiary
            issues through diligent efforts to define and discuss such issues and limit paperwork.



            The parties agree that:

            1. At least       days before the final status conference, each party will provide all other
               parties with a list containing a one paragraph explanation of each proposed motion in
               limine. Each one paragraph explanation must identity the substance of a single proposed
               motion In limine and the grounds for the proposed motion.

            2. The parties thereafter will meet and confer, either in person or via teleconference or
                videoconference, concerning ail proposed moUons in limine. In thai meet and confer, the
                parties will determine:

                a. Whether the parties can stipulate to any of the proposed motions.           If the parties so
                     stipulate, they may file a stipulation and proposed order with the Court.

                b. Whether any of the proposed motions can be briefed and submitted by means of a
                     short joint statement of issues. For each motion which can be addressed by a short
                     joint statement of issues, a short joint statement of issues must be filed with the Court
                     10 days prior to the final status conference. Each side's portion of the short joint
                     statement of issues may not exceed three pages. The parlies will meet and confer to
                     agree on a date and manner for exchanging the parties' respective portions of the
                     short joint statement of issues and the process for filing the short Joint statement of
                     issues.

           3. AU proposed motions in limine that are not either the subject of a stipulation or briefed via
              a short joint statement of issues will be briefed ami Hied in accordance with the California
              Rules of Court and the Los Angeles Superior Court Rules.




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           For Optional Um                                                                             Pago 1 ol 2
Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 53 of 57 Page ID #:68




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          The following parties stipulate:

          Date:

                       (TYPE OR PRINT NAME)                      (ATTORNEY FOR PLAINTIFF)
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                       (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
          Date:
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                       (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENOANT)
          Dale:
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                       (TYPE OR PRINT NAME)                 (ATTORNEY FOR
          Date:
                                                        >
                       (TYPE OR PRINT NAME)                 (ATTORNEY FOR                       )
          Dale:
                                                        >

                       (TYPE OR PRINT NAME)                 (ATTORNEY FOR




         THE COURT SO ORDERS,

           Dale:
                                                                     JUDICIAL OFFICER




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Case 2:21-cv-03493-DMG-JPR Document 1-2 Filed 04/23/21 Page 54 of 57 Page ID #:69


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                                 Superior Court of California, County of Los Angeles
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                        '/              ALTERNATIVE DISPUTE RESOLUTION (ADR)
                         3?SSi


                                                              INFORMATION PACKAGE

 THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

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What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.


Advantages of ADR
        •    Saves Time: ADR is faster than going to trial.

        •    Saves Money: Parties can save on court costs, attorney's fees, and witness fees.

        •    Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.

        •    Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.


Disadvantages of ADR

        •    Costs: If the parties do not resolve their dispute, they may have to pay for ADR and litigation and trial.

        •    No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.


Main Types of ADR:

        1.   Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
             settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.


        2.   Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
             strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
             acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.


                         Mediation may be appropriate when the parties
                                 •      want to work out a solution but need help from a neutral person.
                                 •      have communication problems or strong emotions that interfere with resolution.
                         Mediation may not be appropriate when the parties
                                 •      want a public trial and want a judge or jury to decide the outcome.
                                 •      lack equal bargaining power or have a history of physical/emotional abuse.




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                                                                                 How to arrange mediation in Los Angeles County
                                                                                            as                                                                                                                       v-pf      ;

    Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:
               -*/>«
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                                as*?-
                                                                                                                                                                                            4- sp- $M^a4"-                      '•*», 'li-. ' Iti" 7;%
               a.         The Civil Mediation Vendor Resource List
                           If all parties aeree to mediation, they may contact these organizations to request a "Resource List
           ife1*
                          Mediation" for mediation at reduced cost or no cost (for selected cases):

              i- . .                     JH ..jp*gp*p|||||gll                                                                              ..         ..
                          •          ADR Services, Inc. Case Manager patricia@adrservices.com (310) 201-0010 (Ext. 261)
                          •          JAMS, Inc. Senior Case Manager mbinder@jamsadr.com (310) 309-6204

  SfSj.T
                          •          Mediation Center of Los Angeles (MCLA) Program Manager info@mediationLA.org (833) 476-9145
                                              o          Only MCLA provides mediation in person/by phone and by videoconference.


              These organizations cannot accept every case and they may decline cases at their discretion.
                         Visit www.lacourt.ore/ADR.Res.List for important information and FAQs before contacting them.
                          NOTE: This program does not accept family law, probate, or small claims cases.                                                                                                                     ..i,,
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     i las             .*.«*   '1   X.   ..-•"MfTr   •             .•-•••               '    .   .   *       .          .   -aU.,.      t^v"    2..        ,   ...   *         •   --   *   . i,     , • rJ>-   «n       '




              b.          Los Angeles County Dispute Resolution Programs
                          https://wdacs.lacountv.eov/proerams/drp/
                                     •        Small claims, unlawful detainers (evictions) and, at the Spring Street Courthouse, limited civil:
                                                         o        Free, day- of- trial mediations at the courthouse. No appointment needed.

                    'jtiSm*.
                                                         o        Free or low-cost mediations before the day of trial.
                                                                             .      .                                                                                    ...                ,
                                                                                                                                                                                                     ilKil
                                                                                                                                                                                                   . .               .          .             .
                                                         o        For free or low-cost Online Dispute Resolution (ODR) by phone or computer before the
                                                                  day of trial visit                                                                                                                                                         e:
                                                                  http://www.lacourt.ore/division/smallclaims/pdf/OnlineDispiiteResolutionFlver-                                                                                                   \
                                                                  EneSpan.pdf
                                                                                                                                                                                                     m

              c.         Mediators and ADR and Bar organizations that provide mediation may be found on the internet.




    3.     Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and arguments to the
           person who decides the outcome. In "binding" arbitration, the arbitrator's decision is final; there is no right to
           trial. In "nonbinding" arbitration, any party can request a trial after the arbitrator's decision. For more
           information about arbitration, visit http://www.courts.ca.eov/programs-adr.htm


    4.     Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and are often held close to the trial
           date or on the day of trial. The parties and their attorneys meet with a judge or settlement officer who does not
           make a decision but assists the parties in evaluating the strengths and weaknesses of the case and in negotiating
           a settlement. For information about the Court's MSC programs for civil cases, visit
           http://www.lacourt.org/division/civil/CI0047.aspx




Los Angeles Superior Court ADR website: http://www.lacourt.org/division/civil/CI0109.aspx
For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm




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                                                                FILE & SERVE                        Invoice No.:     FS-201182A1
                                                                1 875 Century Park East, Lobby-Suite H
                                                               Los Angeles, CA 90067
                                    m

                                                  L            PHONE (310)858-9800
                                                               FAX (888) 543-5126
                                          LEGAL                www.OnCallLegal.com




CUST#: 002661                                     ORDER DATE: 3/24/2021                           COURT /DESTINATION:
KJT Law Group, LLP                                    ORDER TIME: 10:21 AM                        Los Angeles County Superior Court - Stanley Mosk C
230 N. Maryland Ave. Suite 306                                                                    111 North Hill Street
                                                   DUE DATE #: 3/25/2021
                                                                                                  Los Angeles, CA 90012
Glendale CA, 91206
                                                                                                  CASE#             21STCV09481
Attention: Erica Dermesropian
                                                 PRIORITY (on Due Date) CASE TITLE:                                 Jason Arnold, indivi VS. Pella

Email: erica@kjtlawgroup.com                       File by End of Day                                               Corporation, a
                                                                                                  BILLING /FILE#: EM00135
Phone: (818) 507-8525
                                                                                                  Claim Number:

                                           HEARING DATE:                         DEPT. 12                    ROOM.


                     servee: Pella Corporation, a corporation
                        Agent: Corporate Creations Network, inc. Registered Agent for Service of process
         Business Address: 4640 Admiralty Way Fl 5, Marina del Rey, CA 90292-6636


               Documents: 0      Summons; Complaint; Alternative Dispute (ADR) package; Civil Case Cover Sheet (served in complex cases
                                 only); Civil Case Cover Sheet Addendum and Statement of Location; Notice of Case Assignment - Unlimited
                                 Civil Case; First Amended General Order; Voluntary Efficient Litigation Stipulations.;
      # FILES UPLOADED:         9

            INSTRUCTIONS:        Please send to their service of agent as Corporate Creations Network, Inc. Att: Sarah Clemens

       File Proof of Service:   YES




      DATE        TIME          DRIVER #                       NOTES FROM SERVER(S)


                                                                                                                           Service#1

                                                                                                                           Service#2


                                                                                                                           Rush


                                                                                                                           Skip Trace

                                                                                                                           Fees Advanced

                                                                                                                           Check Charge

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     Physical Description:
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     Age:                       Height:                       Race:                       Hair:
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